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 EXHIBIT E
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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION



DONNA CURLING, ET AL.,

     Plaintiffs,
                                    CIVIL ACTION
         v.
                                    FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, ET
AL,

     Defendants.


          DECLARATION OF JUAN E. GILBERT, PH.D.
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       Pursuant to 28 U.S.C. § 1746, I, Juan E. Gilbert, make the following

declaration:

      1.       My name is Juan E. Gilbert

      2.       I have been retained by Robbins Ross Alloy Belinfante Littlefield

LLC and Taylor English Duma LLP on behalf of the Georgia Secretary of State and

the State Election Board members (the “State Defendants”). I have been asked to

offer opinions regarding the declarations and exhibits attached to Curling Plaintiffs’

most-recent Motion for Preliminary Injunction.

      3.       On November 13, 2019, I provided a declaration in this case in

support of the State Defendants’ Response in Opposition to both the Curling and

Coalition Plaintiffs’ Preliminary Injunction Motions (the “Gilbert Nov. 2019

Declaration”). A true and accurate copy of this declaration is filed with the Court at

[Doc. 658-3] and attached hereto as Exhibit A.1

      4.       I have reviewed the August 19, 2020 Declaration of Dr. J. Alex

Halderman, [Doc. 785-2], (the “Halderman Aug. 2020 Declaration”) and find very

little substantive difference between it and Dr. Halderman’s October 2, 2019

declaration (the “Halderman Oct. 2019 Declaration”). Similarly, I understand the

relief sought now by the Curling Plaintiffs is largely identical to that sought at the

1
 Due to an oversight of counsel, my CV was not included with the filing of the
Gilbert Nov. 2019 Declaration. I have included as part of Exhibit A here.

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time of the Gilbert Nov. 2019 Declaration.

      5.        I hereby adopt and incorporate by reference the Gilbert Nov. 2019

Declaration in its entirety, subject to the additional statements provided here

concerning events occurring since my November 13, 2019, execution of that

declaration.

        I.     Additional Background

      6.        In the Gilbert Nov. 2019 Declaration, I explained my professional

background, experience, qualifications, and training in Paragraphs 1–16. Since that

time, I have endeavored in the following activities which the Court may find

relevant to its consideration of my qualifications.

             A. On January 9, 2020, I provided testimony, as an invited expert

                witness, to the United States House of Representatives, Committee on

                House Administration, in a hearing titled: “2020 Election Security—

                Perspectives from Voting System Vendors and Experts.” My

                testimony before the Committee on House Administration is attached

                as Exhibit B.

             B. In May 2020, I was elected as a member of the Academy of Science,

                Engineering and Medicine of Florida.




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       II.     Regulatory Changes in Georgia since November 13, 2019.

      7.        Since the time I executed the Gilbert Nov. 2019 Declaration, the

Georgia State Election Board (“SEB”) has promulgated numerous rules and

regulations concerning the conduct of elections, recounts, and risk-limiting audits

(“RLA”). I offer the following commentary on the impact of those rules as it relates

to the Gilbert Nov. 2019 Declaration:

             A. Reminders to voters to review their ballots. I understand the SEB

                adopted rules which require a poll officer to be stationed at every

                ballot scanner during voting and that poll officer is required to “offer

                each voter a specific verbal instruction to review their printed ballot

                prior to scanning it.” Ga. Comp. R. & Regs. r. 183-1-12-.11(8)

                (Conducting Elections), r. 183-1-14-.02(12) (Advance Voting).

                Similarly, voters are reminded throughout voting that “sample ballots”

                are available to “assist them in reviewing their paper ballot.” Id. This

                required instruction is consistent with the reminders which have been

                shown to improve rates of voter verification, as discussed in

                Paragraphs 50–51 of the Gilbert Nov. 2019 Declaration and Paragraph

                14, footnote 4 of the Halderman Oct. 2019 Declaration.

             B. Definition of a Vote. I understand that the SEB has adopted rules

                regarding the definition of a vote. Specifically, I understand that if, in


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             conducting a recount or audit (in accordance with O.C.G.A. §§ 21-2-

             495 and 21-2-498) “a discrepancy is found between the voter’s choice

             indicated by the printed text on the ballot and the result tabulated by

             the ballot scanner, the printed text shall control and be counted.” Ga.

             Comp. R & Regs. r. 183-1-15-.02. This rule is consistent with my

             understanding at the time of the Gilbert Nov. 2019 Declaration.

         C. The SEB’s Proposed Audit Rule. I have reviewed the SEB’s proposed

             Audit Rule, [Doc. 793-1], and understand the same principle

             discussed in the preceding paragraph to be present there. Specifically,

             proposed rule 183-1-15-.04(2)(4) provides that “[f]or ballots marked

             by electronic ballot markers, the auditors shall rely on the printed text

             on the ballot to determine the voter’s selection.” This again is

             consistent with my assumptions at the time of the Gilbert Nov. 2019

             Declaration.2




2
  I offer no opinion as to the specific procedure of recounts and RLAs in Georgia. I
do, however, offer the opinion that the proposed rule providing that the printed text
controls in an RLA is consistent with both logic (i.e., if such did not control, the
process is not an audit but a simple re-scan of ballots) and the recommendations of
the NASEM Committee on the Future of Voting: Accessible, Reliable, Verifiable
Technology’s report “Securing the Vote: Protecting American Democracy.” As
mentioned in the Gilbert Nov. 2019 Declaration (¶ 8) I was a member of that
Committee.

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      III.    Additional Commentary

      8.      In the Gilbert Nov. 2019 Declaration, in response to Dr. Halderman’s

claim that a BMD ballot cannot be voter-verified, I discussed research being

conducted by Dr. Michael Byrne and his colleagues. Gilbert Nov. 2019 Dec. at ¶¶

48–51. That research has since been published.3

      9.      As that paper explains, the ability of voters to actually detect

manipulation of their vote choices was quite good (“Of the 25 voters who actually

examined the printout, 19 of them detected at least one anomaly.”); the problem, is

that many voters in the study chose not to examine their ballots. Notably, the

aforementioned research found that reminders to review ballots—like those

discussed in Paragraph 7.A, supra—improved the rate of review.

      10.     This finding is also supported by research conducted by Matthew

Bernhard, 4 Dr. Halderman, and others, which Dr. Halderman cites in the

Halderman Aug. 2020 Declaration. [Doc. 785-2 at ¶ 42, n.40]. That research posits

that verbal reminders to voters increased verification and the authors “recommend

that poll workers interrupt voters after their ballot has printed but before it is


3
 Kortum, Byrne, and Whitmore, “Voter Verification of BMD Ballots Is a Two-
Part Question: Can They? Mostly, They Can. Do They? Mostly, They Don't” (Mar.
10, 2020), available at https://arxiv.org/abs/2003.04997 (last accessed Aug. 23,
2020).
4
 I understand that Mr. Bernhard has previously provided expert testimony for the
Coalition Plaintiffs.

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scanned and ask them to review it.”5

      11.     Interestingly, Dr. Halderman cites both aforementioned papers in the

Halderman Aug. 2020 Declaration to support his contention that “few voters

carefully review BMD printouts.” Id. However, the Aug. 2020 Declaration makes

no mention of the interventions which foster higher rates of review by voters.

Regardless, the Aug. 2020 Declaration provides no commentary as to the

verifiability of hand-marked paper ballots and further offers no opinion as to

whether voters detect changes to their BMD-marked ballot when they do review it,

as the Byrne study posits.

      12.     The Halderman Oct. 2019 Declaration discusses a “plausible attack

scenario” in which an attacker could infect BMDs with a malicious code that causes

them to print barcodes which do not match the printed text of the ballot. [Doc. 619-

2, ¶ 6]. In the Gilbert Nov. 2019 Declaration, I responded to this assertion. Ex. A at

¶¶ 45–46. Dr. Halderman repeats this assertion in the Halderman Aug. 2020

Declaration. [Doc. 785-2 at ¶ 7(a), ¶¶ 30–33]. However, as I discussed previously,

the same type of attack could occur with hand-marked paper ballots. Ex. A at ¶ 46. I

additionally noted that an RLA would detect such an attack, id. at ¶ 45. In any


5
 Matthew Bernhard, et. al., “Can Voters Detect Malicious Manipulation of Ballot
Marking Devices?” in Proceedings of the 41st IEEE Symposium on Security and
Privacy (Jan. 2020), available at https://jhalderm.com/pub/papers/bmd-
verifiability-sp20.pdf (last accessed Aug. 23, 2020).

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event, such an attack seems an unlikely avenue for a bad actor since, as other

scholars have recently noted, such an attack is unlikely to go undetected in a

jurisdiction conducting RLAs because an audit which recognizes a single

inconsistent barcode/text combination would signal a significant problem.6

      13.     As to Dr. Halderman’s other attack scenario, in which both the

barcode and the printed text are both altered, Halderman Aug. 2020 Declaration

[Doc. 785-2 at ¶ 7(b)], the issue again is ensuring voters review their ballots and, as

discussed in Paragraphs 8–11, supra, research indicates that the type of

interventions discussed in Paragraph 7(A), supra, improve voters’ rates of review.

      14.     Finally, in Paragraph 7(c) of the Halderman Aug. 2020 Declaration,

Dr. Halderman notes that the ballot scanners could theoretically be hacked. This is

true, as I mentioned before any computer system can be manipulated if the attacker

has sufficient time and access to it. Ex. A at ¶ 44. But as I also mentioned there,

hand-marked paper ballots provide no solution to this hypothetical problem since

the scanner would still be used under either Georgia’s BMD system or Plaintiffs’

proposed hand-marked paper ballots. Id. at ¶¶ 34(A–B).

[signature on next page]




6
 Wallach, “On the security of ballot marking devices” (Dec. 12, 2019), available
at https://arxiv.org/abs/1908.01897 (last accessed Aug. 24, 2020).

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I declare under penalty of perjury that the foregoing is true and correct. Executed

this _25_ day of August, 2020.



                                      ____________________________________
                                      Juan E. Gilbert, Ph. D.




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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
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DONNA CURLING, ET AL.,

       Plaintiffs,
                                     CIVIL ACTION
           v.
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BRAD     RAFFENSPERGER,       ET
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       Defendants.


            DECLARATION OF JUAN E. GILBERT, PH.D.
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       Pursuant to 28 U.S.C. § 1746, I, Juan E. Gilbert, make the following

declaration:

I.     BACKGROUND

      1.       My name is Juan E. Gilbert

      2.       I have been retained by Robbins Ross Alloy Belinfante Littlefield

LLC and Taylor English Duma LLP on behalf of the Georgia Secretary of State and

the State Election Board members. I have been asked to offer opinions regarding

the declarations and exhibits attached to Plaintiffs’ recent Motions for Preliminary

Injunction.

      3.       Specifically, I have reviewed the October 2, 2019 Declaration of J.

Alex Halderman, the Def Con 27 Voting Machine Hacking Village August 2019

Report, “Ballot-marking devices (BMDs) cannot assure the will of the voters”

authored by Andrew Appel, Richard DeMillo, and Philip Stark (the “Appel White

Paper”), the October 22, 2019 Declaration of Philip B. Stark, and the October 22,

2019 Declaration of Kevin K. Skoglund.

      4.       My background, experience and qualifications are set forth in my

curriculum vitae, which is attached as Exhibit A.          As demonstrated by my

curriculum vitae, I have over 20 years of post-graduate experience in the field of

computers generally, and since 2002 I have focused on technology in voting

systems, including the development of accessible voting systems.
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      5.     I currently hold the title of Andrew Banks Family Preeminence

Endowed Professor and Chair of the Computer & Information Science &

Engineering Department at the University of Florida where I also lead the Human

Experience Research (HXR) Lab. I have held the title of Department Chair at the

University of Florida since 2015 and joined the faculty there as Professor and

Associate Chair in 2014.

      6.     I have earned a Bachelor of Science in Applied Science from Miami

University in Oxford, Ohio (1991); a Master of Science in Computer Science from

the University of Cincinnati (1995); and a Doctor of Philosophy in Computer

Science from the University of Cincinnati (2000).

      7.     Prior to joining the University of Florida, I held the title of

Presidential Endowed Professor and Chair of the Division of Human-Centered

Computing at Clemson University in Clemson, South Carolina (2009-2014) and

also held the position of Graduate Program Director in the Division of Human-

Centered Computing (2010-2012). Additionally, I held the title of Professor (2009),

Associate Professor (2005-2009), and Assistant Professor (2000-2005) at Auburn

University in Auburn, Alabama. I was also a Visiting Instructor in the Miami

University (OH) Systems Analysis Department.

      8.     I was a member of the National Academies of Science, Engineering

and Medicine (“NASEM” or “National Academies”) Committee on the Future of


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Voting: Accessible, Reliable, Verifiable Technology which produced the report

“Securing the Vote: Protecting American Democracy.” Additionally, I participated

on NASEM Committees regarding developing interest in and mentoring in Science,

Technology, Engineering, Medicine, and Mathematics (“STEMM”).

      9.     In 2018, I was named a Fellow of the Association for Computing

Machinery, the highest honor awarded by the Association reserved for, at most, 1%

of ACM members in recognition of outstanding accomplishments in computing and

information technology.

      10.    At various times, I have also served as a reviewer for various

academic journals, including: Journal of Women and Minorities in Science and

Engineering, Computers & Security Journal, Journal of STEM Education, and the

International Journal of Artificial Intelligence in Education. I have also served on

multiple panels and committees for the National Science Foundation.

      11.    In 2012, I received the Presidential Award for Excellence in Science,

Mathematics, and Engineering from President Barack Obama. I have also received

awards from the American Association for the Advancement of Science (AAAS)

(2014) and the Computer Research Association (2018)

      12.    In my career, I have published more than 180 articles, delivered over

250 presentations and obtained more than $27 million in grants and funding in the

field of computer science, generally. Specifically, I also was selected to direct a


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three-year, $4.5 million project funded by the U.S. Election Assistance Commission

to increase the accessibility of new, existing, and emerging technological solutions

in the design of voting systems.

      13.     I have provided expert testimony to the Presidential Commission on

Election Administration and Technology (September 19, 2013), the U.S.

Congressional Committee on Rules and Administration, Bipartisan Electronic

Voting Reform Act of 2008 (July 30, 2008), and in the case National Federation of

the Blind v. Lamone, No. RBD-14-1631, 2014 WL 4388342 (D. Md. Sep. 4, 2014).

      14.     My research and work is currently focused in Human-Centered

Computing, Natural Interactive Systems, Artificial Intelligence, Machine Learning,

and Advanced Learning Technologies. Generally, my research focuses seek to

integrate people, technology, information, and policy to address real world

problems. Relatedly, I focus on creating user interfaces where a user can interact

with computer systems using speech and multimodality, and employing intelligent

strategies to personalize instruction to users.

      15.     In 2003, at the Auburn University Human Centered Computing Lab, I

conceived the Prime III Voting System. Prime III is an open-source paper-based

Ballot-Marking Device (“BMD”) Voting System which offers a secure, multimodal

electronic voting system that delivers system security, integrity, and user

satisfaction while accommodating all users with the same voting method, regardless


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of ability. I have continued refining and developing new advancements of this

voting system during my time at Clemson University and the University of Florida.

      16.    I created Prime III to advance the state of voting in the wake of the

2000 Presidential Election. Prime III was designed to be software independent by

using a paper ballot. The Prime III Voting System has been used in federal, state,

and local elections. The State of New Hampshire adopted the Prime III voting

system as their statewide accessible voting system and renamed it One4All.




II.    Georgia’s BMD System and Plaintiffs’ Requested Relief

       A.    Georgia’s BMD Voting System

      17.    I have reviewed documentation regarding the Dominion BMD Voting

System Georgia is implementing, I understand it to generally consist of the

following:

             A.    Dominion Election Event Designer Election Management

                   System (“Dominion EMS”).

             B.    Dominion Image Cast Prime X Ballot Marking Device and a

                   separately attached printer (“Dominion BMD”).

             C.    Dominion ImageCast Precinct Scanner and Tabulator

                   (“Dominion ICP”).

             D.    Paper for printing of paper ballots by the Dominion BMD (the


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                    “Paper Ballot”).

             E.     Dominion ImageCast Central which includes a Dell PC and a

                    separately attached high-speed scanner for use in elections

                    offices to process absentee ballots (“Dominion ICC”).

             F.     KNOWink Poll Pad Electronic Poll Book for voter check in and

                    creation of Voter Access Cards which store only ballot

                    combination information for voting on the Georgia BMD (“Poll

                    Pad”).

      18.    Precinct Voting. I understand Georgia’s BMD Voting System to

generally work as follows on election day: Voters will arrive and check-in with

poll-workers using the Poll Pad. The Voter will then be given a Voter Access Card

to take to the Dominion BMD. A Voter will then insert the Voter Access Card and

be presented with their ballot on the BMD screen. Voters will then select their

candidates on the BMD screen and the BMD will print a paper ballot reflecting

their selections from the attached printer. The paper ballot contains a human-

readable listing of voter selections and a QR Code encompassing the selections.

Voters then have the opportunity to review their ballot and will be instructed to do

so by posted signage. After reviewing their ballot, voters then insert the ballot into

the Dominion ICP to scan and record their vote. Importantly, there is no recording

of a voter’s selection on the Dominion BMD and the only device tabulating and


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“counting” votes is the Dominion ICP.

         19.   Pre-certification Audits. I understand that Georgia law requires local

election superintendents to conduct precertification tabulation audits conducted by

manual inspection of random samples of the official paper ballots. Importantly,

under Georgia law, the paper ballot is the ballot of record and controls in such an

audit.

         20.   Risk-Limiting Audits (“RLAs”). I understand that Georgia law also

requires the Secretary of State to conduct a risk-limiting audit pilot program with a

risk limit of not greater than ten percent. Upon successful completion of the Risk-

Limiting Audit pilot program, Georgia law requires state-wide implementation of

Pre-certification Risk-Limiting Audits. Again, the paper ballot is the ballot of

record and controls in the audit.

         21.   As an expert in the field, I believe that the process described herein is

consistent with best practices for conduct of elections and is consistent with the

recommendations produced by the National Academies Committee on the Future of

Voting: Accessible, Reliable, Verifiable Technology of which I was a member.

Accordingly, it is also consistent with that Committee’s report: “Securing the Vote:

Protecting American Democracy.”

         22.   Specifically, the Georgia BMD Voting System does not store a ballot

or ballot information on the Dominion BMD, the ballot only contains a human-


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readable summary and QR Code, the paper ballot is the official ballot of record, and

the ballot does not pass through a printer-head when scanning.

      23.     Moreover, the use of RLAs was strongly recommended by the

NASEM Committee on the Future of Voting. I think the pilot of an RLA system is

necessary before state-wide implementation to ensure its fidelity and integrity. I

understand that Georgia election officials have visited other jurisdictions to learn

from those election officials about the process of, and best practices for, conducting

an RLA.

      24.     Finally, the Dominion BMD System has been certified by the EAC

pursuant to the Voluntary Voting System Guidelines (“VVSG”) 1.0. I understand

that Plaintiffs complain the system has not been certified pursuant to the more

recent VVSG Standards (i.e. VVSG 1.1 or VVSG 2.0), but no election system in the

country has been certified under those standards.

       B.     Plaintiffs’ Requested Relief

      25.     I understand that there are two different sets of Plaintiffs in this case

seeking similar relief that is different in some respects. I will refer to the sets of

Plaintiffs as Curling Plaintiffs and Coalition Plaintiffs.

      26.     Curling Plaintiffs. I understand that Curling Plaintiffs ask this Court to

prohibit the State of Georgia from “using any system or devices for voting . . . that

does not use hand-marked paper ballots as the primary method of recording the


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elector’s votes” and require the State to provide a plan to the Court to comply with

that relief which includes pre-certification, post-election, manual tabulation audits.”

[Doc. 619-1].

       27.      Coalition Plaintiffs. I understand that Coalition Plaintiffs seek to

similarly require the State to conduct all elections using hand-marked paper ballots

as the primary method of recording electors’ votes. Coalition Plaintiffs further seek

to permit continued use of Georgia’s old optical scanners, provide expanded paper

back-ups of poll books and develop an auditing plan to be submitted to the Court

and Plaintiffs, among other requests.


III.   THE DIFFERENCES AND SIMILARITIES OF BALLOT-
       MARKING DEVICES AND HAND-MARKED PAPER
       BALLOTS

       28.      I will begin by defining the specific implementation of a BMD for this

Declaration. Herein, when I refer to a BMD, I am specifically referring to an

implementation that has the following properties:




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             A.     The BMD does not record any voter information;

             B.     The BMD does not record any of the voter’s choices;

             C.     The BMD prints a paper ballot that contains a QR Code

                    containing the voter’s selections (unless specifically noted

                    otherwise in this section of my Declaration) and a ballot

                    summary reflecting the voter’s selections that is human-

                    readable; and

             D.     The paper ballot is fed into a separate machine or optical

                    scanner, that is separate and apart from the BMD, for

                    tabulation.

      29.    As noted previously, I understand Georgia’s BMD Voting System to

comply with Paragraph 28 (A–D).

      30.    Similarly, when I refer to hand-marked paper ballots, I am referring to

a system consisting of the following properties:

             A.     A voter marks his or her selections with a pen or pencil on a

                    paper ballot; and

             B.     The ballot is then fed into a machine or optical scanner which

                    tabulates the votes (unless otherwise specifically noted herein).

      31.    There are many similarities between a BMD Voting System and a

hand-marked paper ballot voting system.


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      32.     And, in my opinion, the similarities of both systems provide a

baseline confidence of security, but the advantages of a BMD system with respect

to undervotes, overvotes, auditability, and accessibility weigh in favor of a BMD

system.

       A.     The Similarities

      33.     Both BMD and hand-marked systems are paper based. This is very

different from the Direct Recording Equipment (DRE) that I understand Georgia

previously used. It is difficult, if not impossible, to effectively secure a voting

system that is only electronic; therefore, the National Academies report and I agree,

all elections should be paper based until the state of technology advances and

undergoes a rigorous review. Both BMD Voting Systems and hand-marked paper

ballot voting systems are appropriately recorded and secured by physical paper,

consistent with this recommendation.

      34.     Both are read by optical scanners. The scanners used by both BMD

and hand-marked paper ballot voting systems are the machines that actually record

votes (I understand that some jurisdictions hand-count paper ballots but I do not

understand Curling or Coalition Plaintiffs to seek that in this case. Accordingly,

though there are obvious issues with human error or malfeasance in hand-counting

election results, I will not discuss that herein).

              A.     Optical scanners are computers and they therefore may be


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                     susceptible to manipulation. However, this applies with equal

                     force to both BMD and hand-marked paper ballot voting

                     systems. This susceptibility is why audits are recommended for

                     both hand-marked paper ballot and BMD voting systems.

              B.     Additionally, optical scanners read both ballots in a similar

                     manner. In a BMD Voting System, the scanner reads a QR

                     Code. In a hand-marked paper ballot voting system, the scanner

                     does not read ballot text like a human would. Instead, the

                     scanner is translating coordinates of an oval or other mark into

                     coordinates that are coded to mark a vote for a candidate—

                     assuming the mark is within the specified coordinate space. As

                     such, in both systems, a scanner is translating information in a

                     similar manner under either system, using either coordinates or

                     a QR Code to translate into a recorded vote.

      35.     Both are auditable. Both BMD and hand-marked paper ballot voting

systems can be audited by an RLA or a recount to confirm the tallies of the optical

scanners. Since the human-readable record controls under either system, an audit or

recount can reveal any issues with the tally, whether due to a misread or

malfeasance. I understand Plaintiffs’ Experts dispute this, which I will address in

the rebuttal portions of this Declaration.


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       B.     The Differences

      36.     While there are many similarities between hand-marked paper ballot

and BMD voting systems, there are also some significant differences. Again, I will

continue to refer to both systems as defined above.

      37.     Undervotes. Generally, an undervote occurs whenever a voter

(consciously or inadvertently) does not vote in a race on their ballot.

              A.    Hand-marked paper ballot systems provide no limitation on

                    undervotes absent a poll-worker reviewing a voter’s ballot and

                    informing the voter of an undervote or the scanner being

                    programmed to reject a ballot due to detecting an undervote.

                    However, either of these remedies for hand-marked paper ballot

                    systems are problematic because (1) Georgia protects the

                    secrecy of the ballot and poll-worker review of individual

                    ballots could lead to intimidation; and (2) refusing to vote in a

                    particular race may be a conscious choice of a voter that he or

                    she is entitled to make.

              B.    BMD systems on the other hand often provide a notification, by

                    way of either an on-screen summary or the printed summary on

                    the ballot of no selection or something similar. This provides

                    voters a way to be privately informed of their undervote and


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                  remedy it if they so choose. I have not personally observed this

                  notification on the Dominion BMD but I understand Georgia’s

                  implementation of that BMD does confirm this via both an on-

                  screen summary and human-readable text on the ballot.

            C.    Undervote Hack. Hand-marked paper ballot systems are subject

                  to undervote attacks with only a pen or pencil that no scanner or

                  audit would catch. This is a significant vulnerability from an

                  election security perspective that is rarely discussed. In the case

                  of a hand-marked paper ballot undervote, no mark is made on a

                  ballot and the “oval” is left blank. In a matter of seconds an

                  insider could fill in any undervotes with their preferred

                  candidate and the only way to detect this attack would be to

                  catch them in the act. It is not possible on a printed BMD ballot

                  to interfere with an election in this simple manner.

            D.    Disparate Impact on Minority Voters. I have reviewed the

                  Report of the 21st Century Voting Commission submitted to

                  Governor Roy Barnes in December 2001.1 Concerningly, that


1
 Report of the 21st Century Voting Commission, 18-19 (December 2001)
(available at
https://www.sos.state.co.us/pubs/elections/VotingSystems/files/2015/21stCenturyR
eport.pdf) (hereinafter 21st Century Report).

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                     Commission’s review of data from the 2000 Presidential

                     Election in Georgia found that undervote rates2 were higher in

                     predominantly black precincts than in predominantly white

                     precincts, both of which used systems that permit undervotes.

                     While I have not personally conducted research on this finding

                     or reviewed the underlying data, I have no reason to doubt the

                     Commission’s work—the finding is disturbing and should be

                     addressed before any switch to a system that permits

                     undervotes.

      38.     Overvotes. An overvote occurs when a voter selects more candidates

than is permitted in an election.

              A.     A hand-marked paper ballot system, just as in undervoting,

                     provides no limitation to prohibit overvoting. In theory, a

                     scanner could be programmed to reject an overvoted ballot, but

                     in practice this could result in long lines and delayed voting at

                     precincts when the voter has to re-mark a new ballot. This could


2
  Due to lack of data available at the time, the Commission indicates the undervote
rate it found also includes overvotes. In other words, an overvote (marking to
candidates for the same race) led to a non-vote in that race and due to the way that
data was collected at the time non-votes were all counted as overvotes.
Accordingly, this finding may apply with equal force to overvotes, but more
research would need to be conducted.

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            lead to voter frustration and voters choosing not to vote.

            Further, I am not aware of any research or data showing this is

            an effective method of eliminating overvotes. Poll-worker

            review of ballots presents the same problems discussed in

            Paragraph 36(A).

      B.    BMD voting systems, on the other hand, eliminate this

            problem. Again, I have not personally used a Dominion BMD

            as configured for Georgia, but I understand that if a voter

            attempts to overvote in a particular race on a Dominion BMD it

            will prohibit that voter from doing so. The voter must de-select

            their other choice before being permitted to select a new choice.

      C.    Overvote Hack. This is another vulnerability that is rarely

            discussed but is a real threat that requires only a pen or pencil

            and no specific training or sophistication. For example, if a

            voter selects Bugs Bunny for Governor of Georgia but an

            insider wants Daffy Duck to win, an insider can simply

            overvote the ballot for Daffy Duck. In such a scenario the ballot

            then may be either an uncounted vote that was intended to be

            cast for Bugs Bunny or worse, a decision regarding voter intent

            is later made to count the ballot for Daffy Duck. It is not


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                   possible on a printed BMD ballot to interfere with an election in

                   this simple manner.

      39.    Auditability, Recounts, and Voter Intent. While, as mentioned in the

Similarities section above, both hand-marked paper and BMD voting systems can

be audited, BMD voting systems provide significant advantages in this context.

             A.    A hand-marked paper ballot can be marked in any way a voter

                   chooses. This results in marks that may be read by the scanner

                   differently from the way the voter intended (e.g. a stray mark in

                   a different bubble) or may not be read at all. This would not

                   require criminal conduct but the effect of not recording a

                   voter’s intent accurately is the same. Moerover, this results in a

                   situation where officials conducting an audit must interpret the

                   voter’s intent—the worst-case scenario for an audit or recount.

             B.    The primary goal of having a paper ballot is to enable an audit

                   to ensure the integrity of the election; therefore, the audit or

                   manual recount is the final say in the election outcome. If the

                   auditability of the ballots is compromised, then the

                   audit/recount fails. This has been seen in many elections

                   starting with Florida’s 2000 Presidential Election and later in

                   elections that used HMPB like the 2008 Minnesota Senate Race


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            or the 2010 Alaska Senate Race. Some will argue that these

            ballots are a minority and that is true, but they exist and still

            could have an impact on a close election.

      C.    Ambiguous marks cannot occur on a BMD: the voter’s intent is

            clear in the ballot summary and an auditor will not be asked to

            interpret voter intent.

      D.    Some will argue that the QR Code is not human-readable;

            therefore, this is a problem. This is only an issue if the QR

            Code is the ballot of record and there is no RLA and/or pre-

            election testing. If QR Codes are inconsistent with the human-

            readable portion of the ballot, this will be detected during the

            RLA and may signal a full manual recount.

      E.    A QR Code can also be examined during pre-election testing or

            post-election audits or recounts to confirm its validity.

      F.    Finally, in the future, a QR Code may provide a stronger audit

            trail to detect errors or malfeasance. A QR code could be

            programmed to contain information to trace a ballot back to a

            particular precinct or machine. While I understand this

            particular feature has not yet been approved by the Election

            Assistance Commission, so long as this can be done in the


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                     future without compromising ballot secrecy, this is a significant

                     advantage to uncovering issues by way of audits.

              G.     Even without this additional advancement in technology, in my

                     opinion, a QR Code provides a significant advantage in

                     auditing because it can unambiguously reveal malfeasance or

                     errors. And because the ballots contain the voter’s selection in

                     human-readable format which controls in any recount or audit,

                     an error could be remedied by a manual recount.

      40.     Accessibility. As mentioned elsewhere in this Declaration, a

significant portion of my research and the motivation behind the Prime III voting

system is the accessibility of elections systems. Simply put, a hand-marked paper

ballot system is not accessible to voters with disabilities while a BMD system is.

While this presents policy and legal problems, it also exacerbates security

vulnerabilities in elections.

              A.     First, voters with certain disabilities cannot use hand-marked

                     paper ballots without human assistance which violates their

                     privacy. For example, a blind voter cannot use a paper ballot at

                     all without assistance and a voter with limited motor function

                     and coordination may also have difficulty properly marking a

                     ballot on his or her own. The same may be true for certain


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            elderly voters whose motor skills are declining.

      B.    BMD systems however are more accessible to these voters.

            BMDs are easier to touch for voters with weak motor skills

            and/or have adaptations for use with the same device. Similarly,

            BMD systems can audibly dictate to a voter their choices on the

            same machine that the general populace uses. Again, while I

            have not personally used the Dominion BMD system as

            procured for Georgia, I understand that it has this capability. It

            has adaptations for a control, audible instructions and feedback,

            and even an adaptation for a sip-and-puff device for severely

            disabled voters. Even for those without a severe disability,

            BMDs have the capability to increase text size and change text

            color to enhance readability.

      C.    When hand-marked paper ballot systems have been

            recommended in other contexts, it is often due to the alleged

            vulnerabilities of a particular voting system. However, in many

            instances proponents of hand-marked paper ballots while

            arguing that BMDs are insecure suggest that it is OK for people




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                   with disabilities to vote on. This is unacceptable3 in my opinion

                   and threatens the security of an election.

             D.    If individuals with disabilities vote one way and everyone else

                   votes a different way, this provides fertile ground for an attack.

                   When an attacker knows the specific limitation of the

                   population using a certain system, it is easier for that attacker to

                   tailor an attack without being detected.

             E.    Further, the number of disabled voters may be larger than the

                   margin of victory in many critical jurisdictions. For example, it

                   is estimated that disabled eligible Georgia voters numbered

                   approximately 1.136 million, 16.1% of all eligible voters, in the

                   2016 elections4 and nationwide turnout of disabled voters was

                   estimated at 55.9%.5 Using this rough estimate, approximately

3
 While I understand certain federal or state laws may be implicated by the scenario
described here, I am not a lawyer and am not offering any opinion on the legal
sufficiency of any system.
4
 Projecting the Number of Eligible Voters with Disabilities in the November 2016
Elections, L. Schur and D. Kruse, Rutgers University (2016) (available at
https://smlr.rutgers.edu/sites/default/files/documents/faculty_staff_docs/Kruse%20
and%20Schur_Disability%20electorate%20projections%202016_9-8-16.pdf).
5
  L. Schur, Disability, Voter Turnout, and Polling Place Accessibility, Presentation
to National Academies of Sciences, Engineering, and Medicine’s Committee on
the Future of Voting (Jun. 2017) (available at
https://sites.nationalacademies.org/cs/groups/pgasite/documents/webpage/pga_180
931.pdf).
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                        635,000 disabled voters cast votes in Georgia in 2016, far

                        greater than the 211,411-vote difference between Donald

                        Trump and Hillary Clinton in Georgia.6

              F.        Setting aside my concerns regarding voter accessibility, from a

                        security perspective, it is better to have a diversity of voters

                        using the same equipment rather than isolating a certain

                        demographic of voters by type of equipment or voting process.


IV.    REBUTTAL              OF     PLAINTIFFS’            DECLARATIONS               AND
       EXHIBITS

       A.     October 2, 2019 Declaration of Dr. J. Alex Halderman

      41.     I have reviewed the Declaration of Dr. J. Alex Halderman, dated

October 2, 2019, and filed with this Court, all Paragraph references herein refer to

that document, [Doc. 619-2], unless explicitly stated otherwise. I offer the following

opinions in rebuttal.

      42.     In Paragraph 3, Dr. Halderman states “important databases, files,

computers, and personnel will carry forward from the current election system (the

“GEMS/DRE System”). This means that vulnerabilities in these aspects of the

GEMS/DRE System will also affect the security of the [Georgia BMD Voting

System].”

6
 Georgia Secretary of State, November 8, 2016 Election Results (available at
https://results.enr.clarityelections.com/GA/63991/184321/en/summary.html).

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       43.    As a preliminary matter, it is unclear to me what, exactly, Dr.

Halderman means to say will “carry forward,” but it appears contrary to the facts of

Georgia’s BMD Voting System. In any event, the Georgia BMD System includes a

new EMS which replaces the old GEMS in its entirety and there is simply no

software continuity between the two systems to transmit viruses or malware. If he is

referring to the general framework of building ballot combinations and ballot data

then that is a separate matter entirely for two reasons. First, I understand that

Georgia law requires export files from any Voter Registration System to be scanned

with anti-virus and anti-malware software before use in any other elections system

along with endpoint protection and a host of other requirements regarding security

of any existing voter database files.7 Second, this assertion is irrelevant to the

security of the new BMD Voting System itself since there is no software or

hardware connection to infect the new equipment. I assume that some personnel

will remain in the Secretary of State’s Office, but I also assume Dr. Halderman is

not suggesting that all personnel be removed or that the Secretary’s Office has been

infiltrated by attackers employed there. Simply put, the Georgia BMD system is an

entirely new and separate Voting System.

       44.    In Paragraph 4 Dr. Halderman states that “BMDs are computers,

meaning they are susceptible to hacking.” I agree that generally any computer can

7
    O.C.G.A. § 45-13-20; Ga. Comp. r. & Reg. 590-8-3-.01.

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be hacked, but I understand Plaintiffs’ proposed systems to also utilize computers

for voter registration and computerized scanners for tabulation. These can also, in

theory, be hacked. Additionally, as described above, hand-marked paper ballots

themselves can be “hacked” by far less sophisticated means. In sum, the general

statement that computers can be hacked is no justification to remove all computers

from any type of interaction with voting and elections systems.

      45.     In Paragraph 5, Dr. Halderman states that use of barcodes generally

increases the “attack surface.” I do not generally dispute this is the case. And in

Paragraph 6, Dr. Halderman goes on to explain a “plausible attack scenario” where

a barcode is altered to encode a vote for one candidate but the summary remains for

the other.8 As Dr. Halderman acknowledges though, an effective RLA would catch

this “plausible scenario.”

      46.     But, Dr. Halderman’s “plausible attack scenario” could occur with a

hand-marked paper ballot system. As previously discussed, an insider could simply

mark ballots (resulting in a ballot not counting or counting differently than the view

of the ballot when the voter completed it) or an attack could be made on optical

scanners to re-code how the ballot reads a legitimate mark. And, again, a scanner is

not reading the text of a ballot in either system, it is translating either coordinates

8
  As an aside, I do not understand “barcodes,” as commonly known, to be at issue
in this case. Instead, the Dominion BMD System uses QR codes. For the sake of
argument and clarity, I will not correct Dr. Halderman’s terminology.

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(hand-marked ballot) or a QR code (BMD ballot) into a vote.

      47.     In Paragraphs 9-11 Dr. Halderman discusses a contemplated update to

the Dominion BMD System available after certification by the United States

Election Assistance Commission. First, EAC certification is a significant point, in

and of itself: Certification means that a system complies with the security and

fidelity requirements of the federal agency charged with this task and is necessary

to provide assurance of a voting system’s integrity. Importantly, the Dominion

System that Georgia is deploying has been certified by the EAC. Second, I would

be surprised if Dr. Halderman believes that Georgia should use a non-certified

system, in which case I am unsure what his assertion is other than he prefers BMD

systems which use Optical Character Recognition (“OCR”) even though it has not

yet been certified.

      48.     In Paragraphs 12–17, Dr. Halderman generally asserts that BMD

systems cannot be voter-verified and therefore cannot be audited. For reasons stated

previously, I believe this broad assertion is incorrect (in fact, in my opinion, BMD

ballots with two forms of vote recordation may be a more reliable record for

auditing). I provide the following specific points rebutting this assertion.

      49.     First, Dr. Halderman cites his own research at the University of

Michigan which is apparently undergoing peer review now. I cannot specifically

rebut the underlying data since he did not provide it.


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      50.    Second, footnote 4 of Dr. Halderman’s declaration summarily states

that certain reminders improved this percentage, but Dr. Halderman chose not to

include those numbers in his declaration. He further did not document the numbers

regarding the interventions he says “had no effect.” Surely Dr. Halderman is aware

that H.B. 316 requires signage in each polling booth reminding voters to check their

ballots, it is surprising to me he would not include this number. In the same

footnote, he concludes further research and testing are necessary to establish

whether interventions are effective. However, he certainly would also agree that

further research must be done to establish the 6.5% rate of participants noticing a

ballot change must be conducted to conclusively establish that assertion.9

      51.    Conversely, I am aware that Dr. Michale Byrne, Professor of

Psychology at Rice University, has conducted research that shows significant gains

in voters reviewing their ballots when a poll worker prompts them to do so.

      52.    In Paragraph 16 Dr. Halderman states “It is true that voters using

hand-marked paper ballots also make errors. However, for the most part, human

errors in hand-marked paper ballots tend to be random. Errors that favor a candidate


9
  Again, I cannot conclusively comment on this without any of the data backing up
Dr. Halderman’s assertions, but logically one would need to also control for the
real impact of a real election in such a study. In other words, a voter’s knowledge
and thought about voting for a candidate leading up to an election is far different
than a mock election voting for people who may not be real, or just an election
which we know is not real.

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tend to be largely canceled out by errors that disfavor that candidate. This has a

tendency to equalize the effect of errors across parties or ideologies.” Dr.

Halderman provides no evidence or data to support either claim: that hand-marked

paper ballot “errors are random;” and that they equalize or cancel each other out.

        53.    As to Dr. Halderman’s assertion that the marks are random, there is no

indication on a hand-marked paper ballot that a mark is indeed “random.” Instead,

the mark may be evidence of the intention of a voter to cross-out or circle a

candidate, disregarding the instructions. In any event, the conclusory statement here

does not establish marks as a general rule are “random” without any evidence or

support.

        54.    Additionally, the 21st Century Report I referenced earlier tends to

negate his assertion that the errors cancel each other out. There, overvotes and

undervotes on hand-marked paper ballots were far more prevalent in majority-

minority precincts.10 Regardless, this conclusory statement is not supported by any

peer-reviewed evidence cited by Dr. Halderman or that I am generally aware of.

        55.    In Paragraph 15, Dr. Halderman states that if a problem were

discovered that altered both the ballot summary and the QR Code then the only

remedy would be to rerun the election. But the same is true with hand-marked paper

ballots. If a bad actor altered hand-marked paper ballots by marking them

10
     21st Century Report, supra n. 1, pp. 18-20.

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(completing undervotes, purposely adding overvotes, or simply attempting to spoil

ballots with ambiguous marks) to influence an election (or maybe even just poor

ballot design and confusion), there would be no evidence indicating which mark is

the “correct” mark. Accordingly, the only corrective action that could be taken is

the same: a rerun of the election.

      56.     Moreover, under Dr. Halderman’s “plausible attack scenario,” of an

attacker altering the QR Code but not the summary, a hand-marked paper ballot

would be worse. With a BMD system, a properly conducted RLA would detect an

attack and the human readable portion is again the official ballot of record.11 Under

a hand-marked paper ballot system, if a bad actor marks ballots, an RLA could not

conclusively determine malfeasance had occurred.



       B.     October 22, 2019 Declaration of Philip B. Stark

      57.     I have reviewed the Declaration of Philip B. Stark, dated October 22,

2019, and filed with this Court, all Paragraph references herein refer to that

document, [Doc. 640-1, pp. 40–45], unless explicitly stated otherwise. I offer the

following opinions in rebuttal.
11
  I note here that Plaintiffs’ experts will presumably assert that a BMD cannot be
verifiable because the QR code cannot be read by the naked eye. However, Dr.
Halderman has already stated interventions which he believes increase
verifiability, I have additionally pointed to Dr. Byrne’s research, and Dr.
Halderman has provided no evidence as to the review voters conduct on a hand-
marked paper ballot.

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      58.     Dr. Stark12 states in Paragraph 2 that “BMDs are essentially as

vulnerable as the DRE machines they would replace, despite the fact that BMDs

generate a ‘voter-verifiable’ paper trail.” I fundamentally disagree with this

statement and it, in my opinion, is misleading. As an expert in the field of elections

and developer of a voting system myself, paper-ballot based BMDs are more secure

than DREs. Moreover, the National Academies Securing the Vote Report agrees

BMDs are more secure as well. I am familiar with Dr. Stark and can only assume

that the term “essentially” is being used to carry that statement.

      59.     In Paragraph 5, Dr. Stark states “Bugs, misconfiguration, or malicious

hacking can cause the BMD to print something other than the selections the voter

made on the touchscreen or accessible interface. Hand-marked paper ballots do not

have that vulnerability.” This is simply not true. To my knowledge, every

jurisdiction using hand-marked paper ballots has processes in place to determine

voter intent, because marks on a hand-marked paper ballots can be ambiguous, as

previously discussed. Additionally, poor ballot design can cause voter intent to be

unclear with hand-marked paper ballots, even where there is no ambiguous mark—

for example, a voter may think an “oval” corresponds to a different candidate. This

is the same vulnerability Dr. Stark is describing, a ballot that does not clearly reflect

12
   I understand Dr. Stark to be a statistician, but he appears to offer opinions
regarding computer and elections security and not statistics. Nonetheless, I will
address his contentions.

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a voter’s intent whether due to malfeasance or human error.

      60.      In Paragraph 7, Dr. Stark goes on to state: “If an audit or inspection of

a BMD happens to discover a malfunction, there is in general no way to tell

whether the malfunction altered electoral outcomes, nor any way to determine the

correct electoral outcomes.” The BMDs, however, are not recording or tallying

votes, they are producing paper ballots which can be reviewed and confirmed by a

voter. In essence, a BMD is nothing more than an ink pen—but one that can avoid

ambiguous marks that belie voter intent.

      61.      In Paragraph 8, Dr. Stark states that BMDs are not “strongly software

independent” and that only hand-marked paper ballots can detect whether a

malfunction altered the outcome. First, I disagree with Dr. Stark that hand-marked

paper ballots are “strongly software independent.” For example, if undervote and

overvote hacks occur with paper ballots, there’s no way to recover the election

other than a do over. As such, hand-marked paper ballots are not “strongly software

independent” Instead, I believe that both BMDs and hand-marked paper ballots

have the same property of being software independent but not strongly software

independent.

      62.      Regardless of semantics, this statement simply misses the point. Take,

for example, the 2018 Election to United States Senate in Florida. In that race, there

was a severe undervote in the Senate race—more than 24,000 voters who voted in


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the race for Governor failed to vote in the U.S. Senate race with a margin of victory

of about 11,000—and a consensus has developed that this was due to poor ballot

design.13 In this instance, there is still no remedial action other than simply counting

the ballot that likely contained an error, regardless of software independence.

      63.     In Paragraph 13, Dr. Stark references a paper titled “What Voters Are

Asked to Verify Affects Ballot Verification: A Quantitative Analysis of Voters’

Memories of Their Ballots” to support his claim that voters are not good at

verifying their ballot summaries.14 This is a flawed study and this paper was not

subject to peer review. In that study, they asked voters to recall ballot information

after they had voted and they did not conduct any comparison with hand-marked

paper ballot voters. Additionally, the study was conducted by asking voters to

review a ballot outside the polling place. Accordingly, the study did not reflect

whether voters with a hand-marked paper ballot could recall their votes and further

it apparently tested short-term memory—not verification in the precinct of a freshly

printed ballot.




13
  See, e.g., Florida Recounts Senate Votes Yet Again, and Nelson’s Chances
Dwindle, New York Times, Nov. 16, 2018 (available at
https://www.nytimes.com/2018/11/16/us/rick-scott-bill-nelson-recount.html).

14
 Notably, Marilyn Marks, who I understand to be affiliated with the Coalition for
Good Governance, a Plaintiff in this case, is listed as a contributor to this paper.

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       C.    October 22, 2019 Declaration of Kevin K. Skoglund

      64.    I have reviewed the Declaration of Kevin K. Skoglund, dated October

22, 2019, and filed with this Court, all Paragraph references herein refer to that

document, [Doc. 640-1, pp. 47–66], unless explicitly stated otherwise. I offer the

following opinions in rebuttal.

      65.    In Paragraphs 23–24, Mr. Skoglund seems to offer the opinion that

voting by hand-marked paper ballot is faster than voting by BMD paper ballot. He

does so without any evidence or support for this proposition. However, in an

internal study I conducted with others while at Clemson University we found the

opposite—that voting by BMD is faster than hand-marked paper ballot.

      66.    In Paragraph 25, Mr. Skoglund references touchscreen miscalibration

errors. However, these are exceedingly rare in modern touchscreen BMDs unlike

older DRE touchscreen machines.

      67.    In Paragraph 30, Mr. Skoglund cites to a paper titled “How To Build

an Undervoting Machine: Lessons from an Alternative Ballot Design,” in support of

his assertion that “[s]everal studies have shown that a significant number of voters

do not verify machine-generated ballots carefully and do not detect errors.”

However, this cited paper doesn’t discuss machine-generated paper ballots at all

and instead concerns user interface design of BMDs and DREs. Mr. Skoglund also

cites to the same unreliable study conducted by Richard DeMillo, Robert Kadel,


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and Marilyn Marks that Dr. Stark used. For the reasons stated in Paragraph 13, I

find this unpersuasive.

      68.     Mr. Skoglund makes several conclusory statements regarding the

appearance of ballot summaries and abbreviations contained therein. However, he

notably cites to no authority for his conclusions regarding the ability of voters to

comprehend summaries and makes no allegations pertaining to a Georgia BMD-

conducted election.

      69.     In Paragraph 37, Mr. Skoglund generally states that ballot summaries

cannot be a reliable source for an audit because you cannot be sure it was properly

verified. For the same reasons stated elsewhere in my Declaration, I find this

unpersuasive.

       D.     Curling Plaintiffs’ Exhibit 3: Def Con 27 Voting Machine
              Hacking Village Report

      70.     I have reviewed the Def Con 27 Voting Machine Hacking Village

Report filed with this Court, [Doc. 619-9]. I offer the following opinions in rebuttal.

      71.     I am familiar with the Def Con Voting Machine Hacking Village,

generally. This Report appears to assert several conclusory statements regarding

hackability of voting machines with unlimited access. I do not see much to

comment on in the Report largely because the Dominion Precinct Hybrid Scanner

appears to be different than the system procured for Georgia. As such, I am not sure

of the report’s relevance.

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       E.    Curling Plaintiffs’ Exhibit 4: Paper authored by Appel, DeMillo,
             and Stark.

       72.   I have reviewed the Paper attached as Exhibit 4 to Curling Plaintiffs’

Brief, filed with this Court at [Doc. 619-10], I offer the following opinions in

rebuttal.

       73.   I find this Paper to be largely repetitive of previous assertions and will

not waste the time of the Court by repeating them herein.

       74.   I agree with several points contained in this paper though. For

example, I agree that that all-in-one devices should not generally be used in

elections—but Georgia’s BMD System is not an all-in-one system. Also, a BMD

that separately prints a ballot with a readable ballot summary and scanned at a

separate precinct based optical scanner with no printer head is not so insecure as to

never be used.

       75.   I differ, however, with their conclusion that BMDs with separate

scanners should only be used by disabled voters who cannot use a hand-marked

paper ballot. As previously discussed, such a statement is inherently flawed in that

it is permissible for a subset of voters to use a BMD Voting System but not the

general populace, and further that segregating such voters only exacerbates

concerns of manipulation.



[signature on next page]

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I declare under penalty of perjury that the foregoing is true and correct. Executed

this _13__ day of November, 2019.



                                      ____________________________________
                                      Juan E. Gilbert, Ph. D.




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  EXHIBIT A
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                 Juan E. Gilbert, Ph.D.
   Andrew Banks Family Preeminence Endowed Professor & Chair

    Computer & Information Science & Engineering Department
                     University of Florida
                       P.O. Box 116120
                     Gainesville, FL 32611

                          juan@ufl.edu
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Research Statement

My research is in Human-Centered Computing (HCC) and Artificial Intelligence (AI). The goal
of my research is to design, implement and evaluate innovative solutions to real world problems.
My research integrates people, technology, information, policy, culture and more to address
societal issues. In general, HCC research is highly interdisciplinary and applied. My areas of
specialization within HCC and AI are Natural Interactive Systems, Bias in AI, Advanced Learning
Technologies/Intelligent Tutoring Systems, Ethnocomputing/Culturally Aware Computing and
Information Technology Workforce, Human-Computer Interaction, Databases and Data Mining.

In Natural Interactive Systems (NIS), I am interested in creating user interfaces where the user
interacts with the system using speech or multimodality. I am researching the design,
implementation and the evaluation of naturally interactive systems. One of my research projects
in NIS is called Prime III. Prime III is a secure, multimodal electronic voting system,
http://www.PrimeVotingSystem.org. Prime III provides an easy to use multimodal user interface
that allows greater participation in the electoral process. Voters that can’t read, hear, have visual
impairments or physical impairments, can still vote using Prime III. The Prime Voting System is
a usable security approach to electronic voting.

In Advanced Learning Technologies/Intelligent Tutoring Systems, my research aims to create and
study applications that employ intelligent strategies that personalize instruction. In some
implementations, this involves the use of spoken language systems and Animated Pedagogical
Agents (APAs). I am researching the use and impact of culturally relevant environments that use
culture in the education or training environment. This is a form of Ethnocomputing
(http://en.wikipedia.org/wiki/Ethnocomputing) or culturally aware computing. In my latest
research efforts, I am researching game-like interfaces that provide naturally interactive instruction
using animation, artificial intelligence, and speech. Examples of this work can be seen at
http://www.aadmlss.org. In Ethnocomputing or Culturally Aware Computing, I am investigating
the use and impact of culture in computing. Our research suggests that culture can be used to
increase interest, user satisfaction and ease of use in computing applications. I am also working
on information technology workforce issues. Specifically, I am investigating pedagogies and
programs that broaden participation in computing for people in underrepresented groups. I am
studying effective practices that help recruit, retain and graduate people from underrepresented
groups in Science, Technology, Engineering and Mathematics (STEM).

In AI, Databases and Data Mining, I am investigating data mining for human centered applications,
e.g. applications where the data represents people, and tools that answer complex questions from
business intelligence, education, and society. For example, I use clustering algorithms to process
admissions applications in order to increase holistic diversity. This tool is called Applications
Quest™, http://www.ApplicationsQuest.com. I am also investigating methods for identifying and
eliminating bias in AI. I am interested in equitable AI.




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 Teaching Statement

 My teaching philosophy is derived from my research in educational technology and my work
 experiences. I believe that technology can be used to keep students interested in the course
 material. My instruction style employs the use of computers and other multimedia deliverable
 mediums to assist in delivering instruction. Technology allows me to deliver instruction in several
 different styles, which meets the demands of more students.

 Areas of teaching interest include, but are not limited to:
    1. Human-Computer Interaction
    2. Spoken Language Systems
    3. Databases and Data Mining
    4. Science and Technology Policy
    5. Advanced Learning Technologies
    6. Ethnocomputing
    7. Creative Thinking and Problem Solving


Education:

    2000         University of Cincinnati, Cincinnati, Ohio
                 Doctor of Philosophy in Computer Science
                   Title: Arthur: An Intelligent Tutoring System with Adaptive Instruction
                 Advisor: Chia Y. Han

    1995         University of Cincinnati, Cincinnati, Ohio
                 Master of Science in Computer Science
                   Title: Road Map – An Intelligent Heuristic Application
                 Advisor: Raj Bhatnagar

    1991         Miami University, Oxford, Ohio
                 Bachelor of Science in Applied Science
                 Major: Systems Analysis




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Funding (Total Funding: $28,742,622.78 - Gilbert Share: $14,031,073.78)

1.    Gilbert, J.E., Disinformation Defense League, New Venture Fund Media Democracy
      Project, 5/15/2020 – 514/2021, $145,000.

2.    Gilbert, J.E., PhDX: Talent for the 21st Century Summer Fellowship Program,
      New Venture Fund Media Democracy Project, 4/15/2020 – 4/14/2021, $10,000.

3.    McMullen, K., Gilbert, J.E., Gardner-McCune, C., & Waisome, J.A.M.,
      Collaborative Research: Human-Centered Computing Scholars: Need-based,
      Extensive Support Through Degree Completion, NSF, 3/6/2019 – 4/30/2024,
      $922,495, UF Share: $922,495.

4.    Purves, D., Jenkins, R., & Gilbert, J.E., Collaborative Research: Standard Grant:
      Artificial Intelligence and Predictive Policing: An Ethical Analysis, NSF,
      9/1/2019 – 8/31/2022, $509,000, UF Share: $269,000.

5.    Gilbert, J.E., PhDX: Talent for the 21st Century Summer Fellowship Program,
      New Venture Fund Media Democracy Project, 2/18/2019 – 2/17/2020, $10,000.

6.    Gilbert, J.E., Eugene, W. & Daily, S.B., Computing and Society Engagement
      (C.A.S.E.), The William R. Kenan, Jr. Charitable Trust, 1/15/2017 – 1/16/2020,
      $1,200,000.

7.    Gilbert, J.E., PhDX: Talent for the 21st Century Summer Fellowship Program,
      New Venture Fund Media Democracy Project, 5/15/2017 – 8/15/2017, $10,000.

8.    Gilbert, J.E. & Daily, S.B., NSF INCLUDES: Consortium of Minority Doctoral
      Scholars (CMDS), NSF, 9/12/2016 – 9/11/2018, $232,512.

9.    Andujar, A., Crawford, C., Jackson, F. & Gilbert, J.E., Brain-Computer Interface
      Research & Development, Intel Corp., 8/15/2015 - 8/14/2017, $300,000.

10. Gilbert, J.E., Critical Human-Machine Interaction: Optimizing for Crisis
    Assessment and Stressful Environment, Harris Corporation, 8/1/2015 – 7/31/2016,
    $150,000.

11. Gilbert, J.E., Accessible Voting for Everyone, Knight Foundation, 8/24/2015 –
    8/23/2016, $35,000.

12. Gilbert, J.E. & Eugene, W., NSF CHS: Small: Collaborative Research: Mobile
    Language-Based Aids for Intelligent Decisions, NSF, 8/24/2015 – 8/23/2019,
    $203,284.00.

13. Gilbert, J.E. & Smith, D., User Experiences in Automobiles, Intel UXR, 2/1/2014 –
    1/31/2015, $25,000.


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14. Gilbert, J.E., Voice Recognition Plugin Research, BMW, 9/15/2013 – 12/31/2013,
    $65,000.

15. Gilbert, J.E., McMullen, K., Remy, S.L., & Eugene, W., 4D Interactions for Cable
    Television, CableLabs, 7/1/2013 – 6/30/2014, $80,000.

16. Gilbert, J.E., Daily, S.B., Anderson, M., Seals, C., & Jones, E., NSF BPC-A:
    Institute for African-American Mentoring in Computing Sciences (iAAMCS),
    NSF, 5/1/2013 – 4/30/2019, $5,785,735, UF Share: $2,741,809.

17. Gilbert, J.E., McMullen, K., & Martin, J., User Experiences with Streaming Video,
    3D Audio and Holistic Usability, Intel IXR, 6/1/2013 – 5/31/2014, $50,000.

18. Gilbert, J.E., User Experiences with Streaming Video and Holistic Usability, Intel
    IXR, 1/1/2013 – 12/31/2013, $25,000.

19. Gilbert, J.E., Juvenile Detention Alternatives Initiative (JDAI) Data Management
    and Reporting Website, 1/1/2013 – 9/30/2013, $60,000.

20. Taiber, J. & Gilbert, J.E., Sustainable Mobility in Automobiles, Verizon,
    11/28/2012 - 11/27/2013, $29,900.

21. Gilbert, J.E., Voice Controls & Augmented Call Center, BMW, 8/15/2012 –
    12/31/2012, $40,999.

22. Martin, J. & Gilbert, J.E., Assessing Perceived Quality of Dash-Based IPTV
    Broadcasts: Methods and Human Factors, CableLabs, 8/15/2012 – 8/14/2013,
    $50,000.

23. Thompson, M., Gilbert, J.E., Morrison, D., Epidemiology of Sexual Violence: A
    Trajectory-based Approach, NIH, 7/1/2012 – 6/30/2013, $128,017.

24. Gilbert, J.E., Interface and Visual Design Research, BMW, 3/1/2012 – 2/28/2013,
    $32,000.

25. Gilbert, J.E., Presidential Award for Excellence in Science, Mathematics and
    Engineering Mentoring (PAESMEM), NSF, (2011), $25,000.

26. Venhovens, P., Brooks, J. & Gilbert, J.E., 2D vs. 2.5D in Automotive User
    Interfaces, Ford Motor Company, 3/1/2012 – 2/28/2013, $40,000.

27. Gilbert, J.E., 2010 Voting Technology and Accessibility Research - Accessible
    Voting Technology Initiative, U.S. Election Assistance Commission, 5/23/2011 -
    5/22/2014, $4,500,000, Clemson Share: $1,188,467.



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28. Gilbert, J.E., IDEaS (Inquiry, Discovery in Engineering and Science)
    Professorship, Clemson University College of Engineering and Science, 7/1/2011 –
    6/30/2012, $20,000.

29. Gilbert, J.E., Hodges, L., & Woodard, D., S-STEM: Human-Centered Computing
    Scholars: Fostering a New Generation of Underrepresented and Financially
    Disadvantaged Researchers, NSF, 6/1/2011 – 5/31/2016, $551,998.

30. Martin, J. & Gilbert, J.E., Correlating the Perceived Quality of Networked Games
    to Broadband Cable Network Design Parameters, CableLabs, 6/1/2011 –
    12/31/2011, $30,000.

31. Gilbert, J.E., In-Vehicle Voice User Help Research, BMW, 7/1/2011 – 7/31/2012,
    $46,550.

32. Gilbert, J.E., CI Fellows Postdoc, Computing Research Association, 9/14/2010 –
    9/13/2011, $127,500.

33. Camp, T., Gilbert, J.E., Khuller, S., & Goldsmith, J. Collaborative Research:
    Broader Impacts for Research and Discovery Summit, NSF, 4/14/2010 -
    4/15/2012, $510,605, Clemson Share: $137,927.

34. Gilbert, J.E., BPC-AE: Collaborative Research: Strengthening and Expanding
    the Empowering Leadership Alliance, NSF, 02/04/2010 – 01/31/2012,
    $923,786.00, Clemson Share: $51,998.

35. Gilbert, J.E., CI Fellows Postdoc, Computing Research Association, 9/7/2009 –
    9/6/2010, $140,000.

36. Dozier, G., Jackson, J., Biggers, M., Gilbert, J.E., & Moore, L., NSF BPC-AE:
    Collaborative Research: The Alliance for the Advancement of African-American
    Researcher in Computing (A4RC), NSF, 09/01/2009 – 08/31/2011, $1,498,076.00,
    Clemson Share: $154,092.

37. Gilbert, J.E. (PI), Chattaraman, V. & Kwon, W., NSF HCC: Small: Conversational
    Agents in Web-Based Consumer Environments Designed for Older Users, NSF,
    08/15/2009 – 8/14/2012, $583,814, Clemson Share: $258,815.

38. Gilbert, J.E. (PI) & Seals, C.D., NSF Collaborative Research: BPC-DP: African-
    American Researchers in Computing Sciences (AARCS), NSF, 12/1/2008 –
    5/1/2010, $215,952, AU Share: $128,450.

39. Gilbert, J.E., NSF BPC-DP: Incorporating Cultural Tools for Math and
    Computing Concepts into the Boys and Girls Clubs of America, NSF, 12/1/2008 –
    11/30/2011, $190,516, AU Share: $198,516.



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40. Gilbert, J.E. Everyone Counts: Voice User Interface Demonstration Prototype,
    Everyone Counts, Inc., 7/2008 – 8/2008, $4,088.

41. Chattaraman, V. (PI), Gilbert, J.E., & Kwon, W. Bridging the Digital Divide to
    Enhance Internet Technology Use among the Elderly, Auburn University Outreach
    Scholarship Grant, 5/2008 – 5/2009, $10,000.

42. Gilbert, J.E. Accessibility in Online Electronic Voting, Everyone Counts, Inc.,
    1/2008 – 7/2008, $15,000.

43. Watts, I.E. (PI) & Gilbert, J.E., Tallapoosa Assistance Program (TAP), State of
    Alabama - Tallapoosa County, 10/1/2007 – 9/30/2008, $28,289.

44. Gilbert, J.E., Total System Services Inc. Distinguished Professorship, Total System
    Services Inc. Gift, 10/1/2007 – 10/1/2008, $100,000.

45. Hamilton, J.A., Chang, K. Dozier, G., Wang, Y. & Gilbert, J.E., NSF #0621307 SFS:
    Scholarship Partnership with Alabama State University and Tuskegee
    University. NSF, 9/1/2006 – 9/1/2009, $1,500,000.

46. Gilbert, J.E., Implementation and User Evaluation of “Everyone Counts Online
    Electronic Voting System”, Everyone Counts Inc., 1/1/2008 – 4/1/2008, $15,000.

47. Gilbert, J.E., NSF IIS HCC: Prime III: Studying Usability & Security in
    Electronic Voting for Everyone, NSF, 5/15/2007 – 8/15/2008, $93,056.

48. Gilbert, J.E., Total System Services Inc. Distinguished Professorship, Total System
    Services Inc. Gift, 10/1/2006 – 10/1/2007, $100,000.

49. Gilbert, J.E., Microsoft Research External Research Fund, Microsoft Corporation
    Research Gift, 6/1/2006 – 12/1/2007, $5,000.

50. Gilbert, J.E. Auburn University Outreach Scholarship Grant, 8/2006 – 8/2007,
    $14,000.

51. Gilbert, J.E. (PI), Seals, C.D., Dozier, G.V. & Jackson, J.F.L., NSF BPC-DP:
    African-American Researchers in Computing Sciences (AARCS), NSF, 3/1/2006
    – 3/1/2009, $421,288, AU Share: $330,473.

52. Dahlberg, T. (PI), Barnes, T. (CoPI), Seals, C.D., Gilbert, J.E. (Senior Personnel), et.
    al., NSF BPC-A: The STARS Alliance: A Southeastern Partnership for Diverse
    Participation in Computing, NSF, 3/1/2006 – 3/1/2009, $2,228,640, AU Share:
    $235,075.

53. Gilbert, J.E. (PI), Producers Cattle Auction: Online Auction, Producers Cattle
    Auction, 2/15/2006 – 5/15/2006, $2,909.78.


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54. Gilbert, J.E. (PI), Producers Cattle Auction: Online Auction, Producers Cattle
    Auction, 1/1/2004 – 10/1/2005, $12,225.

55. Watts, I.E. (PI) & Gilbert, J.E., Tallapoosa Assistance Program (TAP), State of
    Alabama - Tallapoosa County, 1/10/2005 – 1/10/2006, $30,273.

56. Gilbert, J.E. (PI) & Chapman, R., E-Citation Usability Study, University of
    Alabama, 6/2004 – 12/2004, $25,000.

57. Gilbert, J.E. (PI) & Dozier, G. V., Distributed Data Mining, Auburn University
    Internet2 Research, 6/2004 – 7/2005, $6,000.

58. Gilbert, J.E. (PI), Flowers, L., Moore, J.L. & Watford, B., NSF ITWF: Scholars of
    the Future: An Implementation Model for Increasing Diversity in Information
    Technology #0420485, NSF, 9/15/2004 - 9/15/2008, $754,983, AU Share: $549,731.

59. Gilbert, J.E. Auburn University Competitive Research Grant, 5/2003 – 5/2004,
    $3,000.

60. Gilbert, J.E. Auburn University Internet2 Equipment Research Grant, 6/2003 –
    6/2004, $8,000.

61. Watts, I.E. (PI) & Gilbert, J.E., Tallapoosa Assistance Program (TAP), State of
    Alabama - Tallapoosa County, 11/1/2003 – 10/1/2004, $29,572.

62. Gilbert, J.E., Mobile and Pervasive User Interfaces for Information Retrieval,
    Auburn University - Competitive Research Grant, 5/2003-5/2004, $3,000.

63. Chapman, R. (PI) & Gilbert, J.E., VLETS Fieldable Phone System, University of
    Alabama Subcontract, 5/2003 – 9/2003, $39,471.

64. Chang, K. (PI), Biaz, S., Chapman, R., Gilbert, J.E., & Lee, C., Graduate
    Fellowships in Wireless Technologies, U.S. Department of Education Graduate
    Assistance in Areas of Need (GAANN), 9/2003 – 9/2006, $393,552.

65. Gilbert, J.E. NSF Graduate Research Fellowship, 1/2003 – 9/2003, $18,544.

66. Gilbert, J.E. (PI), Summer Technology Outreach Grant II, Auburn University,
    5/2004 – 9/2004, $16,000.

67. Gilbert, J.E. (PI), Summer Technology Outreach Grant, Auburn University, 5/2003
    – 9/2003, $35,231.




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  68. Watts, I.E. (PI) & Gilbert, J.E., Tallapoosa Assistance Program (TAP), State of
      Alabama - Tallapoosa County, 1/1/2003 – 10/1/2003, $60,818.

  69. Brewer, J.W. (PI) & Gilbert, J.E., Distance Learning and Outreach Technology,
      Auburn University Distance Learning and Outreach Office, 2/1/2002 – 8/1/2002,
      $10,000.

  70. Chapman, R., Chang, K., & Gilbert, J.E., Voice Interface for Wireless Law
      Enforcement Systems, University of Alabama, 10/2002 – 5/2003, $20,000.

  71. York, B. (PI), Ellis, C., Gilbert, J.E., Giles, R. & Taylor, V., NSF-ITR: New
      Approaches to Human Capital Development through Information Technology
      Research #0296169, NSF, 9/2000 - 8/2005, $3,188,944, AU Share: $363,437.


Journal Publications

 1.   Williams, R.M. & Gilbert, J.E. (2020) Perseverations of the Academy: a survey of
      wearable technologies applied to autism intervention, International Journal of
      Human-Computer Studies, 143, pp. 1-20, DOI:
      https://doi.org/10.1016/j.ijhcs.2020.102485

 2.   Brinkley, J., Huff, E.W., Posadas, B., Woodward, J., Daily, S.B., & Gilbert, J.E., (2020)
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 2.    Gilbert, J.E. Changing Systems not Students, American Association for the
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 3.    Gilbert, J.E. Inclusive Mentoring Through Online Spaces, American Association for
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 4.    Gilbert, J.E., NSF Presidential Awards for Excellence in Mathematics and Science
       Teaching, Don’t Underestimate the Power of Mentoring, NSF, January 28, 2020,
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 5.    Hall, W., Coleman, A., Keith, J.L., & Gilbert, J.E., Beyond the Law: Exploring Policy
       Foundations to Advance Student-Focused Diversity and Inclusion Strategies: An
       Access and Diversity Collaborative Session, College Board Higher Ed Colloquium,
       January 14, 2020, Dana Point, CA.



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6.    Gilbert, J.E., U.S. House of Representatives Congressional Testimony, Committee on
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7.    (Keynote)
      Gilbert, J.E., Innovations in Elections Technology: Securing American Democracy,
      Florida Tech & Innovation Summit 2019, Orlando, FL, September 25, 2019.

8.    Gilbert, J.E., A Scholar’s Manifesto: Societal Impacts Through Research and
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      NY, April 24, 2019.

9.    Gilbert, J.E., Against the Odds: A Story of Mentoring, Perseverance and
      Excellence, Distinguished Scientist & Engineer Seminar Series, University of
      Massachusetts, Amherst, Massachusetts, April 9, 2019.

10.   Gilbert, J.E., Secure Accessible Voting in the U.S.A., Distinguished Scientist &
      Engineer Seminar Series, University of Massachusetts, Amherst, Massachusetts, April
      9, 2019.

11.   Gilbert, J.E., Demystifying Graduate School for Black and Latino Men: Lessons
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12.   Alberts, B., Chu, S., Gilbert, J.E., & Ward, J. (2019), Distinguished Kavli Frontiers of
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14.   Gilbert, J.E. (2019), A Scholar’s Imperative: Effecting Positive Change Through
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16.   (Keynote)
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19.   Franklin, M., Gilbert, J.E., Noble, B., Rexford, J. & Wills, C. (2018), Session Chairs:
      Shekhar, S. & Torrellas J. Improving Faculty Recruiting in the Computing
      Community, 2018 Computing Research Association (CRA) Conference, Snowbird,
      UT, July 17, 2018.

20.   Gilbert, J.E., Changing the World through Innovations in Academic Research, 60th
      Annual University of Florida Student Science Training Program (SSTP), University of
      Florida, Gainesville, FL, June 26, 2018.

21.   Gilbert, J.E., Goldston, D., & Weaver, G., Implications for undergraduate STEM
      education of changes in societal context, National Academies of Sciences,
      Engineering, Medicine (NASEM) Roundtable on Systemic Change in Undergraduate
      STEM Education, Washington, DC, May 15, 2018.

22.   Gilbert, J.E., A Conversation on the Importance of Mentorship, ACM SIGCHI CHI
      Mentoring (CHIMe), Montreal, CA, April 21, 2018.

23.   Gilbert, J.E., Roth, R., Brown, D., & Mitchell, C., Applications Quest: A Tool for
      Diversity, Southern Association for College Admission Counseling (SACAC), New
      Orleans, LA, April 15, 2018.

24.   Gilbert, J.E., Diversity In Tech: The Pipeline Is The Solution, Not The Problem,
      University of Washington, Seattle, WA, February 8, 2018.

25.   (Keynote)
      Gilbert, J.E., Take Action! Human Rights through Science and Innovation, AAAS
      Science and Human Rights Coalition Meeting, Washington, DC, September 25, 2018.

26.   Gilbert, J.E., Broadening Participation in Computing: Breaking Down Barriers
      and Increasing Access, Cornell University, Ithaca, NY, November 29, 2017.

27.   (Keynote)
      Gilbert, J.E., Take Action: Innovating Solutions to Society’s Problems, 5th Annual
      2017 Louis Stokes Midwest Center for Excellence (LSMCE) Conference, Indianapolis,
      IN, October 7, 2017.



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28.   Gilbert, J.E., Workforce Preparedness: Graduate Degree Benefits, Graduate
      Faculty-Student Forum, Tuskegee University, Tuskegee, AL, September 30, 2017.

29.   (Keynote)
      Gilbert, J.E., Research, Diversity and Innovation: Changing the World, The
      Leadership Alliance National Symposium, Hartford, CT, July 29, 2017.

30.   (Keynote)
      Gilbert, J.E., Scholar Activism: How to Positively Impact Society through
      Research, Sisters of the Academy (SOTA) Black Male Research BootCamp,
      Tallahassee, FL, June 6, 2017.

31.   Gilbert, J.E., Societal Impacts: Diversity in Research, 1st Annual Diversity Graduate
      Research Symposium, University of Florida, Gainesville, FL, March 22, 2017.

32.   Gilbert, J.E., Changing the World through Innovation & Discovery By You, For
      You, Florida A&M University, Tallahassee, FL, February 2, 2017.

33.   Gilbert, J.E., The Future of Elections Technology in the U.S.A., University of
      Missouria, Columbia, MO, January 17, 2017.

34.   Gilbert, J.E., Recruitment, Development and Retention of Faculty and Students of
      Color in the Academy, University of Missouri, Columbia, MO, January 17, 2017.

35.   Gilbert, J.E., Human-Centered Computing: Inventing Solutions to Societal
      Problems, Cade Museum Living Inventor Series, Cade Museum for Creativity +
      Invention, Gainesville, FL, November 17, 2016.

36.   (Keynote)
      Gilbert, J.E., The Scholar’s Imperative: Meeting the Demands of A Changing
      World, 32nd Annual McKnight Fellows Meeting, Florida Education Fund, Tampa, FL,
      November 11, 2016.

37.   (Keynote)
      Gilbert, J.E., Innovations in Research and Discovery While Increasing Diversity,
      Annual Biomedical Research Conference for Minority Students (ABRCMS), Tampa,
      FL, November 9, 2016.

38.   Gilbert, J.E. & Kurdak, C., Institutional Leadership Workshop to Enhance STEM
      Faculty Diversity Panel, Carnegie Mellon University, Pittsburgh, PA, November 7,
      2016.

39.   Gilbert, J.E., The Future of Voting in the United States: Open Source, Security, and
      Accessibility, University of Texas at Dallas, Dallas, TX, September 29, 2016.




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40.   Gilbert, J.E., Live Discussion: Q&A with Juan Gilbert (Public Engagement in
      Computer Science), AAAS Public Engagement with Science on Trellis, [Online], July
      14, 2016.

41.   Gilbert, J.E., The Future of Elections with Open Source Accessible Voting
      Software, Virginia Elections Conference, Richmond, VA, June 28, 2016.

42.   Gilbert, J.E., Accessible Voting via Open Source, 2016 State Certification Testing of
      Voting Systems National Conference, MIT, Cambridge, MA, June 20, 2016.

43.   Gilbert, J.E., An Examination of Speech-Enabled Technologies in the Car,
      SpeechTEK 2016, Washington, DC, May 25, 2016.

44.   Gilbert, J.E., Secure, Usable and Accessible Voting: Changing the Way America
      Votes, Harvey Mudd College, Claremont, CA, April 21, 2016.

45.   Gilbert, J.E., Leadership for Excellence in Research and Diversity, NSF Geosciences
      Opportunities for Leadership in Diversity (GOLD) Ideas Lab, Annapolis, MD, March
      21, 2016.

46.   (Keynote)
      Gilbert, J.E., Changing the World Through Research and Service, AAAS Emerging
      Researcher National Conference in STEM, Washington, DC, February 27, 2016.

47.   Gilbert, J.E., Inventing the Next Generation of Accessible Voting Technologies,
      National Institute of Standards and Technology (NIST), Gaithersburg, MD, February
      12, 2016.

48.   (Keynote)
      Gilbert, J.E., The Scholar’s Imperative: Effecting Positive Change in a Dynamic
      World, Florida Education Foundation 31st Annual McKnight Fellows Conference,
      Tampa, FL, November 14, 2015.

49.   Gilbert, J.E., Building Coalitions and Collaborations, 2015 NSF Minority Faculty
      Development Workshop: 21st Century Mindsets and Strategies for Career
      Advancement, Washington, DC, September 24, 2015.

50.   (Distinguished Lecture)
      Gilbert, J.E., Reducing Driver Distraction for Young Connected Drivers with Voice
      Enabled Technologies, U.S. Department of Transportation, Office of the Assistant
      Secretary for Research and Technology (OST-R), Washington, DC, September 16,
      2015.




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51.   (Keynote)
      Gilbert, J.E., Diversifying the Computing Pipeline with Extraordinary Women,
      Association for Women in Science, ADVANCE|GSE Workshop, Baltimore, MD, May
      31, 2015.

52.   Gilbert, J.E., Research, Development, Testing and Deployment Efforts, 2015 State
      Certification Testing Of Voting Systems National Conference, Seattle, WA, May 20,
      2015.

53.   (Distinguished Lecture)
      Gilbert, J.E., Mentoring, Research and Innovation, National Security Agency (NSA),
      Fort Meade, MD, May 15, 2015.

54.   Gilbert, J.E., Innovations in Human-Centered Computing, MIT Lincoln Labs,
      Lexington, MA, April 27, 2015.

55.   (Distinguished Lecture)
      Gilbert, J.E., Applications Quest: Decreasing Bias and Increasing Diversity in
      College Admissions, Diversity Lecture Series University of South Florida, Tampa, FL,
      April 15, 2015.

56.   (Keynote)
      Gilbert, J.E., Prime III, TEDxUF, Gainesville, FL, March 21, 2015.

57.   (Keynote)
      Gilbert, J.E., Next Generation Voting Technologies: Changing the Way America
      Votes, University of Cincinnati, Cincinnati, OH, March 9, 2015.

58.   (Keynote)
      Gilbert, J.E., Societal Impacts through Research and Diversity: Who We Are and
      What We Do, University of Florida College of Public Health & Health Professions
      Diversity Day, Gainesville, FL, October 23, 2014.

59.   (Keynote)
      Gilbert, J.E., Worlds Ahead through STEM Research: Your Opportunity to Make
      an Impact, Florida International University McNair Scholars Research Conference,
      Miami, FL, October 17, 2014.

60.   (Keynote Panel)
      Gilbert, J.E., Why I Pursued a PhD and Why You Should Too, GEM Grad Lab,
      University of Florida, Gainesville, FL, September 26, 2014.

61.   (Keynote Panel)
      Gilbert, J.E., Karasick, M. & Meisel, W., The Evolution of Computers and Society,
      SpeechTEK 2014, New York, NY, August 20, 2014.


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62.   Gilbert, J.E. & Eugene, W., The VoterPass Reservation System, SpeechTEK 2014,
      New York, NY, August 19, 2014.

63.   Gilbert, J.E., Applications Quest: A New Way of Exploring Diversity in College
      Admissions, 2014 Diversity Leadership Retreat, Orlando, FL, July 25, 2014.

64.   (Keynote)
      Gilbert, J.E., Societal Impacts through Research and Diversity: Who We Are and
      What We Do, Diversity in the Computational Geosciences Workshop, National Center
      for Atmospheric Research, Boulder, CO, June 24, 2014.

65.   Gilbert, J.E., Reforming the Testing and Certification Process, U.S. Election
      Assistance Commission (EAC) Roundtable Discussion, Silver Spring, MD, June 12,
      2014.

66.   (Keynote)
      Gilbert, J.E., Different Pathways, One Journey: The Many Experiences of Black
      Graduate Students, National Black Graduate Student Association 26th Annual
      Conference, Baton Rouge, LA, May 29, 2014.

67.   (Keynote)
      Gilbert, J.E. Computing Science Participation in the Age of Digital Media, Playful
      Learning Summit, Clemson University, Clemson, SC, May 17, 2014.

68.   Gilbert, J.E., New Voting Technologies, The League of Women Voters of South
      Carolina, State Council Meeting, Columbia, SC, April 26, 2014.

69.   Gilbert, J.E., Inspiring the Next Generation, Congressional Black Caucus Science and
      Technology Brain Trust Expanding Minority Participation in Science, U.S. News and
      World Reports STEM Solutions Conference, Washington, DC, April 25, 2014.

70.   (Keynote, Distinguished Lecture)
      Gilbert, J.E., Changing the Landscape: Voting Rights, Technology and Policy,
      University of Illinois at Chicago, Chicago, IL, April 17, 2014.

71.   (Keynote)
      Gilbert, J.E., Research with Societal Impacts from Voting Rights to School
      Violence, Honors Convocation and 16th Annual Research Symposium, Fisk University,
      Nashville, TN, April 10, 2014.

72.   (Keynote)
      Gilbert, J.E., Research with Societal Impacts from Voting Rights to School
      Violence, 16th Annual Research Symposium, Fisk University, Nashville, TN, April 9,
      2014.



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73.   Gilbert, J.E., Enhancing Diversity in Technology (EDIT), Morgan Stanley, New
      York, NY, April 8, 2014.

74.   Gilbert, J.E., Making A Difference in Society Through Research and Innovation,
      Virginia State University, Richmond, VA, March 21, 2014.

75.   Gilbert, J.E., Innovation in Voting Accessibility, FCC Accessibility & Innovation
      Initiative, Washington, DC, March 11, 2014.

76.   Gilbert, J.E., Societal Impacts of Research, Innovation and Diversity: Changing
      How Voting Works, University of the Virgin Islands, St. Thomas Campus, St.
      Thomas, U.S. Virgin Islands, February 12, 2014.

77.   (Keynote)
      Gilbert, J.E., Can You Change the World?, STEM Men of Color “Access to
      Knowledge & Empowerment” Symposium, Cornell University, Ithaca, NY, February 1,
      2014.

78.   Gilbert, J.E., Prime III: Voting Accessibility and Security in the 21st Century,
      University of Florida, Gainesville, FL, January 17, 2014.

79.   Gilbert, J.E., Mentoring the Next Generation of Computing Scholars, 2014 CE21 PI
      and Community Meeting, Orlando, FL, January 8, 2014.

80.   Gilbert, J.E., Voiceing: A Hands-Free, Eyes-Free Approach to Texting While
      Driving, InnoMobility 2013, Greenville, SC, November 6, 2013.

81.   Gilbert, J.E., Creating the Entrepreneur Pipeline, FOCUS100 DigitalUndivided,
      New York, NY, October 5, 2013.

82.   Gilbert, J.E., History in the Making: Innovation, Research, and Diversity, Auburn
      University Black Graduate and Professional Student Association, Auburn, AL,
      September 30, 2013.

83.   Gilbert, J.E., Public Intellectualism: Media Interaction, Social Branding, and
      Knowledge, 2013 Conference of Ford Fellows Critical Transformations and
      Intersections: Knowledge, Community, and Action, Washington, DC, September 27,
      2013.

84.   Gilbert, J.E., Looking Ahead: Creating Opportunities for the Future, 2013
      Congressional Black Caucus Science and Technology Brain Trust, Washington, DC,
      September 20, 2013.

85.   Gilbert, J.E., The Future of Voting Technology, Presidential Commission on Election
      Administration Testimony, Cincinnati, OH, September 19, 2013.



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86.   (Keynote)
      Gilbert, J.E., Applications Quest and Strict Scrutiny in the Post Fisher Era, 2013
      Lucile Kelling Henderson Lecture, University of North Carolina at Chapel Hill, Chapel
      Hill, NC, September 12, 2013.

87.   (Keynote)
      Gilbert, J.E., Societal Impacts Realized Through Research and Diversity, STARS
      Celebration Conference, Atlanta, GA, August 16, 2013.

88.   Gilbert, J.E., Building a House for Diversity: A Case In Point Example, Future
      Faculty Symposium, Purdue University, West Lafayette, IN, August 7, 2013.

89.   (Keynote)
      Gilbert, J.E., The Future of Voting Accessibility & Security, 2013 Alumni
      Conference Department of Computer Science and Software Engineering, Miami
      University, Oxford, OH, April 12, 2013.

90.   Gilbert, J.E., Mentoring Young Faculty to Stay and Excel in the Academy,
      Tuskegee University Science and Technology Open House, Montgomery, AL, April 6,
      2013.

91.   Gilbert, J.E., Accessibility Research and Elections: Where are we now?, NIST/EAC
      Accessible Voting Technology Research Workshop, Gaithersburg, MD, April 1, 2013.

92.   Gilbert, J.E., Electronic Voting and Policy, University of Georgia Science and
      Technology/Higher Education Forum, Athens, GA, March 26, 2013.

93.   Gilbert, J.E., Prime III: Accessibility, Security and Usability in Voting, Oconee
      County Democratic Party, Seneca, SC, March 16, 2013.

94.   (Keynote)
      Gilbert, J.E., Blacks in Higher Education and Civic Responsibility: If Not You,
      Then Who?, 25th Annual National Black Graduate Student Conference, Dearborn, MI,
      March 8, 2013.

95.   (Keynote)
      Gilbert, J.E., The Changing Face of the Academy: Mentoring, ACM SIGCSE 2013,
      Denver, CO, March 7, 2013.

96.   Gilbert, J.E., Academics and Technologists Look at the Future, NIST/EAC Future of
      Voting Systems Symposium, Gaithersburg, MD, February 28, 2013.

97.   Gilbert, J.E., Accessibility and Voting, Protection and Advocacy for People with
      Disabilities, Inc., Columbia, SC, January 23, 2013.




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98.   (Keynote)
      Gilbert, J.E., Technology and It’s Role in Civic Engagement, Rho Delta Lambda
      Chapter of Alpha Phi Alpha Fraternity, Inc. Annual Martin Luther King, Jr. Memorial
      Celebration, Anderson, SC, January 19, 2013.

99.   Gilbert, J.E., Universal Design in Electronic Voting: Making Voting More
      Accessible and Secure, Purdue University, West Lafayette, IN, October 29, 2012.

100. Gilbert, J.E., Achieving Historical Diversity: Steps Toward Building a High
     Quality, Diverse Computing Department, Purdue University, West Lafayette, IN,
     October 29, 2012.

101. Gilbert, J.E., Human-Centered Computing, Albany State University, Albany, GA,
     September 27, 2012.

102. Gilbert, J.E., Best Practices for Veterans Voting: Examining Election Operations,
     Procedures and Accessibility, U.S. Election Assistance Commission Roundtable,
     Washington, DC, September 13, 2012.

103. Gilbert, J.E., Black Males and STEM, Challenging the Status Quo: A Forum on
     Educational Equity and Inclusion for School-Age Black Males, The Congressional
     Black Caucus Foundation, The Urban Education Collaborative at UNC Charlotte and
     The Howard University School of Education, Charlotte, NC, September 5, 2012.

104. Gilbert, J.E., Using Speech to Reduce Distracted Driving, InnoMobility, Greenville,
     SC, July 19, 2012.

105. Gilbert, J.E., Human Factors in Healthcare, CableLabs Inc., Broomfield, CO, July 18,
     2012.

106. (Keynote)
     Gilbert, J.E., Achieving Social Justice in Affirmative Action through Technology,
     Technoscience as Activism, Rensselaer Polytechnic Institute, Troy, NY, June 27, 2012.

107. Gilbert, J.E., Conversation Design for Spoken Language Systems, i3 iSchool
     Inclusion Institute of Information Sciences, University of Pittsburgh, Pittsburgh, PA,
     June 7, 2012.

108. (Keynote)
     Gilbert, J.E., Trailblazers for the Next Generation, Booker T. Washington
     Community Center 78th Annual Awards Dinner, Hamilton, OH, April 28, 2012.

109. Gilbert, J.E., Advanced Learning Technologies and Culturally Relevant
     Computing, University of Wisconsin-Madison, Madison, WI, April 20, 2012.



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110. Gilbert, J.E., Broadening Participation in Computing: Breaking Down Stereotypes
     of Underrepresented Students in the Computational Fields, University of
     Wisconsin-Madison, Madison, WI, April 20, 2012.

111. Gilbert, J.E., Applications Quest: A Data Mining Approach to Diversity in
     Admissions, University of Wisconsin-Madison, Madison, WI, April 20, 2012.

112. Gilbert, J.E., Driver Distraction for Young Connected Drivers, University of
     Wisconsin-Madison, Madison, WI, April 19, 2012.

113. (Keynote)
     Gilbert, J.E., Socially Inspired Computing: How Science & Technology Can
     Change the World! Benedict College, Columbia, SC, April 3, 2012.

114. Gilbert, J.E., One Machine, One Vote for Everyone, TEDx Greenville, Greenville,
     SC, March 30, 2012.

115. Gilbert, J.E., Changing the Landscape of Voting and Voter Registration through
     Universal Design, University of Maryland Baltimore County (UMBC), Baltimore,
     MD, March 28, 2012.

116. Gilbert, J.E., Innovations Promoting Older Adult Use of Technology, 8th Annual
     Aging Research Day Aging: From Cell to Society, Greenville Hospital System
     University Medical Center, Greenville, SC, March 9, 2012.

117. Gilbert, J.E., Revolutionized Teaching, TEDxGreenvilleSalon, Greenville, SC,
     February 29, 2012.

118. (Keynote)
     Gilbert, J.E., Innovation, Mentoring and Society: How One Person Can Make A
     Difference, Racial Legacies & Learning XXVII: How To Talk About Race, Miami
     University Hamilton, Hamilton, OH, February 14, 2012.

119. Gilbert, J.E. & Martinez, D.W., The Critical Role of Mentoring in Increasing
     Graduates and Faculty of Color, Association of American Colleges & Universities
     Annual Meeting, Washington, DC, January 27, 2012.

120. Gilbert, J.E., Reducing Driver Distraction for Young Connected Drivers, Nuance
     Automotive Forum Detroit 2011, Detroit, MI, November 8, 2011.

121. Gilbert, J.E., Universal Design in Electronic Voting: One Machine, One Vote for
     Everyone, Iowa State University, Ames, IA, October 28, 2011.

122. Gilbert, J.E., Effective Mentoring, Southern Region Education Board, Institute on
     Teaching and Mentoring Junior Faculty Development Conference, Atlanta, GA,
     October 22, 2011.


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123. (Franklin Visiting Scholar Lecture)
     Gilbert, J.E., Increasing the Accessibility of Voting through Universal Design,
     University of Georgia, Athens, GA, October 17, 2011.

124. Gilbert, J.E., Powering the Connected Car with Voice, SpeechTEK 2011, New York,
     NY, August 8, 2011.

125. Gilbert, J.E., Preparing for the Academic Job Market, Empowering Leadership
     Alliance, Webinar, June 2, 2011.

126. (Anne Margaret Johnstone Lecture)
     Gilbert, J.E., Prime III: A Universally Designed Electronic Voting System,
     University of Maine, Orono, ME, April 18, 2011.

127. Gilbert, J.E., The African-American Distributed Multiple Learning Styles System:
     An Ethnocomputing Approach to Teach Algebra, Morehouse College, Atlanta, GA,
     March 1, 2011.

128. (Keynote)
     Gilbert, J.E., Courageous Conservations: Taking it to the Next Level with African-
     American and Latino Males, Black, Brown & College Bound: Meeting the Challenge
     of Higher Education, Tampa, FL, February 24, 2011.

129. (Keynote)
     Gilbert, J.E., Holistic Usability Measure: A Holistic Approach to Measuring
     Interface Usability, Greenville Spartanburg Anderson Technology Council (GSATC),
     Greenville, SC, February 9, 2011.

130. (Keynote)
     Gilbert, J.E., African-American Distributed Multiple Learning Styles Systems:
     Culturally Relevant Learning, South Carolina Council for African American Studies
     (SCCAAS) Conference, Columbia, SC, February 5, 2011.

131. Gilbert, J.E., Innovations in Research through Human-Centered Computing,
     Langston University, Langston, OK, November 18, 2010.

132. Gilbert, J.E., Prime III: The Next Generation of Electronic Voting Research, IEEE
     Oklahoma City Section, Oklahoma City, OK, November 17, 2010.

133. (Keynote)
     Gilbert, J.E., voiceTEXT: A Safer Alternative to Texting While Driving, Consortium
     for Computing Sciences in Colleges – Southeastern Region, Spelman College, Atlanta,
     GA, November 12, 2010.




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134. Gilbert, J.E., The Need to Examine and Address the Current Status of Minority
     Males in Higher Education, Southern Region Education Board, Institute on Teaching
     and Mentoring, Tampa, FL, October 29, 2010.

135. (Keynote)
     Gilbert, J.E., Creating Critical Mass: Recruiting and Mentoring a Diverse
     Research Group, Colorado School of Mines, Golden, CO, October 28, 2010.

136. Gilbert, J.E., Using Technology to Achieve Diversity: A New Strategy for
     Affirmative Action, Colorado School of Mines, Golden, CO, October 28, 2010.

137. Gilbert, J.E., Entrepreneurship & the Professoriate, Colorado School of Mines,
     Golden, CO, October 28, 2010.

138. Gilbert, J.E., Hip-Hop, Video Games and Math. USA Science & Engineering
     Festival, Meet the Scientists! Washington, DC, October 23, 2010.

139. (Keynote)
     Gilbert, J.E., Pathways to Success through Innovative STEM Research in Human-
     Centered Computing, Louis Stokes South Carolina Alliance for Minority Participation
     Annual Undergraduate Research Conference, Orangeburg, SC, October 15, 2010.

140. Gilbert, J.E., Human-Centered Computing: People, Technology, Information and
     Policy, Johnson C. Smith University Lyceum Series, Charlotte, NC, September 30,
     2010.

141. Gilbert, J.E., Universal Design in Electronic Voting: 1 Machine, 1 Vote for
     Everyone, University of North Carolina at Chapel Hill, Chapel Hill, NC, September 24,
     2010.

142. Gilbert, J.E., Why Should You Go to Graduate School?, North Carolina A&T
     University, Greensboro, NC, September 23, 2010.

143. (Keynote)
     Gilbert, J.E., Entrepreneurship and the Professoriate: Yes, Professors are
     Entrepreneurs Too, STARS Alliance 5th Annual Celebration 2010, ChampionsGate,
     FL, August 8, 2010.

144. Gilbert, J.E., Accessible Voting. U.S. Election Assistance Commission, Washington,
     DC, August 5, 2010.

145. Gilbert, J.E., Alphanumeric Recognition of License Tag Data, SpeechTEK 2010,
     New York, NY, August 2, 2010.




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146. Gilbert, J.E., TeachEHR: Who’s Training the Clinical Workforce?, Usability in
     Health IT: Technical Strategy, Research, and Implementation Roundtable, National
     Institute of Standards and Technology, Gaithersburg, MD, July 13, 2010.

147. Gilbert, J.E., VoiceTEXT vs. Voice to Text, York One Academy, York, SC, May 25,
     2010.

148. Gilbert, J.E., Tenure and Promotion: Rules of Engagement, South East Alliance for
     Graduate Education and the Professoriate, Atlanta, GA, May 18, 2010.

149. Gilbert, J.E., Texting While Driving: Is There A Safe Alternative?, Colorado School
     of Mines, Golden, CO, May 3, 2010.

150. Gilbert, J.E., Driver Distraction, Networked Vehicle Association Conference: Apps on
     Wheels, Stanford University, San Joses, CA, April 28, 2010.

151. Gilbert, J.E., Publishing for Success, NSF Minority Faculty Development Workshop,
     Massachusetts Institute of Technology, Cambridge, MA, March 23, 2010.

152. Gilbert, J.E., Broadening Participation in Computing: Service or Research?,
     University of North Carolina at Charlotte, Charlotte, NC, March 19, 2010.

153. Gilbert, J.E., Prime III: Universal Design Research in Electronic Voting, Georgia
     Institute of Technology, GVU Brownbag Lecture Series, Atlanta, GA, March 11, 2010.

154. Gilbert, J.E., Human Centered Computing and Technology Innovation, Norfolk
     State University, Norfolk, VA, January 29, 2010.

155. Gilbert, J.E., Socially Inspired Computing and Innovation: Solving National
     Problems, Hampton University, Hampton, VA, January 28, 2010.

156. Gilbert, J.E. & Jackson, J.F.L., Broadening Participation in Computing, 8th National
     Conference on Black Student Achievement, Clemson University, Clemson, SC, January
     25, 2010.

157. Gilbert, J.E., Accessible Voting with Prime III, San Francisco Voting System Task
     Force, San Francisco, CA, January 15, 2010.

158. Gilbert, J.E., Incorporating Universal Design Principles into Electronic Voting,
     University of Washington, Seattle, WA, November 10, 2009.

159. Gilbert, J.E., Diversity Redefined in the New Affirmative Action Era, University of
     Washington, Seattle, WA, November 10, 2009.




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160. Gilbert, J.E., The Need to Examine and Address the Current Status of Minority
     Males in Higher Education, The COMPACT for FACULTY DIVERSITY, 2009
     Institute on Teaching and Mentoring, Arlington, VA, October 23, 2009.

161. Gilbert, J.E., Why Should You Go To Graduate School?, Tuskegee University,
     Tuskegee, AL, October 21, 2009.

162. Gilbert, J.E., Navigating the Academy for Career, Leadership and Community,
     2009 Conference of Ford Fellows, Beckman Center, National Academies, October 16,
     2009.

163. Gilbert, J.E., Tradeoffs in Electronic E2E Voting Systems, National Institute of
     Standards and Technology Workshop on End-to-End Voting Systems, George
     Washington University, Washington, DC, October 14, 2009.

164. Gilbert, J.E., Affirmative Action Redefined through Technology, Kean University,
     Union, NJ, October 5, 2009.

165. Gilbert, J.E., Incorporating Universal Design Principles in Electronic Voting,
     Lamar University, Beaumont, TX, September 25, 2009.

166. Gilbert, J.E., Issues in STEM Competitiveness: The Impact of Underrepresentation
     in Computing Sciences on the African-American Community and the Nation,
     Colgate University, Hamilton, NY, September 18, 2009.

167. Gilbert, J.E., Standards, Security and Accessible Voting. National Institute of
     Standards and Technology, Gaithersburg, MD, September 2, 2009.

168. Gilbert, J.E., VUI Design for Anonymous Name Spelling in Public Environments,
     SpeechTEK 2009, New York, NY, August 24, 2009.

169. Gilbert, J.E., Achieving Diversity in the New Era of Affirmative Action with
     Technology, American Association of Black in Higher Education (AABHE)
     Leadership Institute, Miles College, Birmingham, AL, July 24, 2009.

170. Gilbert, J.E., Prime III: Universal Accessibility in Voting. U.S. Election Assistance
     Commission, Washington, DC, June 2, 2009.

171. Gilbert, J.E., Software for Admissions That Provides Holistic Diversity and Aheres
     to all Judicial Decisions on the use of Race/Ethnicity, Gender in Admissions. 22nd
     Annual National Conference on Race & Ethnicity in American Higher Education, San
     Diego, CA, May 29, 2009.

172. Gilbert, J.E., Security & Technology of Internet Voting. Alabama League of Women
     Voters, Birmingham, AL, May 2, 2009.



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173. Gilbert, J.E., Emerging Trends and Entrepreneurship. Association of
     Computer/Information Sciences and Engineering Departments at Minority Institutions
     (ADMI), Morgan State University, Baltimore, MD, April 17, 2009.

174. Gilbert, J.E., Why Should You Go To Graduate School? Albany State University,
     Albany, GA, April 10, 2009.

175. Gilbert, J.E., Applications Quest: Achieving Equity and Diversity in Admissions
     with Data Mining. University of Florida, Gainesville, FL, March 23, 2009.

176. Gilbert, J.E., Broadening Participation in Computing. Prairie View A&M University,
     Prairie View, TX, March 12, 2009.

177. Gilbert, J.E., Broadening Participation in Computing: Research, Graduate School
     and the Professoriate. Fort Valley State University, Fort Valley, GA, March 6, 2009.

178. Gilbert, J.E., The Prime III Voting System Project. University of Maryland,
     Baltimore County, Baltimore, MD, February 20, 2009.

179. (Keynote)
     Gilbert, J.E., Computing Diversity in Higher Education in the 21st Century. Arizona
     State University, Tempe, AZ, February 18, 2009.

180. Gilbert, J.E., Hip-Hop Music and Math. American Association for the Advancement
     of Science and Science Chicago, 2009 AAAS Annual Meeting, Meet the Scientists at
     AAAS Family Science Days! Chicago, IL, February 15, 2009.

181. Gilbert, J.E., Applications Quest: A Computational Solution to Affirmative Action
     in the 21st Century. University of Alabama, Tuscaloosa, AL, January 30, 2009.

182. Gilbert, J.E., The Future of Underrepresented Minority Based Programs, Alliance
     for Graduate Education in Mississippi (AGEM) Winter Scholar Symposium, Jackson
     State University, Jackson, MS, January 23, 2009.

183. Gilbert, J.E., Modern Day Affirmative Action: Computing Race and Gender
     Conscious Admissions in the 21st Century, Princeton University, Princeton, NJ,
     November 17, 2008.

184. (Wes McJulien Lecture)
     Gilbert, J.E., Advancing Learning through Culture, Technology and Instruction,
     2008 Association for Educational Communications & Technology (AECT), Orlando,
     FL, November 7, 2008.

185. Gilbert, J.E., Usable Security in Electronic Voting, Columbus State University,
     Columbus, GA, November 5, 2008.



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186. Gilbert, J.E., Prime III: The Intersection Between Usability and Security, Clemson
     University, Clemson, SC, October 10, 2008.

187. (Keynote)
     Gilbert, J.E., Excellence in Academia and Beyond, National McNair Scholars
     Research Conference and Graduate School Fair, University of Delaware, Newark,
     Delaware, October 3, 2008.

188. Gilbert, J.E., Computing in the 21st Century: Innovative Solutions to Real World
     Problems. Rochester Institute of Technology, B. Thomas Golisano College of
     Computing and Information Sciences Dean’s Lecture Series, September 26, 2008.

189. Gilbert, J.E., A New Strategy for Affirmative Action. National Academies,
     Washington, DC, September 17, 2008.

190. (Keynote)
     Gilbert, J.E., Changing The World Through Technology, Spelman College, Atlanta,
     Georgia, September 8, 2008.

191. (Keynote)
     Gilbert, J.E., From the Classroom to the Boardroom in the Academic World, BDPA
     9th Annual Scholarship and Education Awards, BDPA Southern Minnesota Chapter,
     Rochester, MN, August 24, 2008.

192. Gilbert, J.E., Prime III: A Multimodal Approach to Electronic Voting, SpeechTEK
     2008, New York, NY, August 19, 2008.

193. Gilbert, J.E. Innovation: Where Computing and Societal Problems Meet. 2008
     STARS Celebration, Auburn, AL, August 12, 2008.

194. Gilbert, J.E. Congressional Testimony, Committee on Rules and Administration,
     Bipartisan Electronic Voting Reform Act of 2008, July 30, 2008, Washington, DC.

195. Gilbert, J.E. Admissions Equity: Reality and Results. Washington Duke Inn,
     Durham, NC, June 26, 2008.

196. Gilbert, J.E. Prime III: Electronic Voting in the 21st Century. Monmouth
     University, May 2, 2008.

197. Gilbert, J.E. Can Holistic Admissions Replace Affirmative Action? Education
     Writers Association, 61st Annual Conference, Chicago, IL, April 25, 2008.

198. Gilbert, J.E. Achieving Diversity in the New Affirmative Action Era. Virginia Tech,
     April 22, 2008.




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199. Gilbert, J.E. Shaping the Future of Voting: An Exploration of the Human Factors
     and HCI Challenges in the Design and Deployment of Prime III. Virginia Tech,
     April 22, 2008.

200. (Keynote)
     Gilbert, J.E. Engineering Research and Innovation in the 21st Century. 34th Annual
     National Society of Black Engineers Convention, Orlando, FL, March 22, 2008.

201. (Keynote)
     Gilbert, J.E. Entrepreneurship and Innovation in the Academy. 20th National Black
     Graduate Student Association Conference, Chicago, IL, March 14, 2008.

202. Gilbert, J.E. Secure, Equal Access for Everyone in Voting. Auburn University
     Elderhostel, March 13, 2008.

203. Gilbert, J.E. Prime III: A Multimodal Approach to Electronic Voting. Voice Search
     Conference, San Diego, CA, March 10, 2008.

204. Gilbert, J.E. Prime III: Innovations in Electronic Voting. Information Technology &
     Innovation Forum, Capitol Hill, Washington, D.C. March 6, 2008.

205. (Keynote)
     Gilbert, J.E. Carter G. Woodson and the Origins of Multiculturalism. USDA –
     Natural Resources Conservative Service Black History Observance, Auburn, AL,
     February 28, 2008.

206. Gilbert, J.E. Community, Technology and Innovation in the 21st Century. Tuskegee
     University, Tuskegee, AL, February 22, 2008.

207. (Keynote)
     Gilbert, J.E. Innovation, Passion and Research: Ingredients for Success. National
     Association of Academies of Science and American Junior Academies of Science
     Banquet, Boston, MA, February 16, 2008.

208. Gilbert, J.E. Broadening Participation in Computing: AARCS Program. American
     Association for the Advancement of Science in Promoting the Success of Minority
     Graduate Students Session, Boston, MA, February 16, 2008.

209. Gilbert, J.E. Achieving Diversity Without Preference in the New Affirmative Action
     Era. University of Colorado-Boulder, Boulder, CO, February 6, 2008.

210. Gilbert, J.E. Achieving Diversity Without Preference in the New Affirmative Action
     Era. Wayne State University Law School, Detroit, MI, January 23, 2008.

211. Gilbert, J.E. Community Benefits of Technological Progression and Advancement.
     People of Action for Community Enrichment, Opelika, AL, January 19, 2008.


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212. Gilbert, J.E. African-American Researchers in Computing Sciences (AARCS): A
     Program for Broadening Participation in Computing. IBM T. J. Watson Research
     Center, Hawthorne, NY, January 16, 2008.

213. Gilbert, J.E. Electronic Voting for Senior Citizens. Osher Lifelong Learning Institute,
     Auburn, AL, January 14, 2008.

214. Gilbert, J.E. 2008 Disability Services: How to Affect Change in an Election Year
     Symposium hosted by the Georgia Disability Vote Project at the Center for the
     Visually Impaired, Atlanta, GA, January 7, 2008.

215. Gilbert, J.E. Prime III: A Usable Security Model for Electronic Voting, Carnegie
     Mellon University, Pittsburgh, PA, September 12, 2007.

216. Gilbert, J.E., Preparation for the Professoriate: Pathways, Passion, and Purpose,
     PROMISE: Maryland's Alliance for Graduate Education and the Professoriate (AGEP),
     Baltimore, Maryland, August 17, 2007.

217. Gilbert, J.E. Prime III: A Multimodal Electronic Voting Platform. National BDPA
     Conference, Washington, DC, August 15, 2007.

218. Gilbert, J.E. & Payton, F. Racioethnic Imbalance in CS and IS: How Do We Change
     the Face of the Classroom? National BDPA Conference, Washington, DC, August 15,
     2007.

219. Gilbert, J.E. Prime III: One Machine, One Vote for Everyone. IBM, Charlotte, NC,
     June 14, 2007.

220. Gilbert, J.E. Innovation and Diversity in the 21st Century. Rensselaer Polytechnic
     Institute, Troy, NY, April 25, 2007.

221. Gilbert, J.E. Applications Quest: A Strategy to Replace Affirmative Action &
     Social Justice. Fixing the Academy: Tapping into Black Excellence on White
     Campuses 2007, Johns Hopkins University, Baltimore, MD, April 13, 2007.

222. Gilbert, J.E. Applications Quest … A Holistic Solution to Application Processing.
     American Bar Association Presidential Advisory Council on Diversity in the Profession
     Eastern Regional Pipeline Workshop, Loyola University-Chicago Law School,
     Chicago, IL, March 23, 2007.

223. (Keynote)
     Gilbert, J. E. Prime III & The Future of Electronic Voting. 29th Annual Leroy
     Roquemore Computer Science Symposium, Southern University, Baton Rouge, LA,
     March 15, 2007.



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224. Cross, E.V. & Gilbert, J. E. The Prime Voting System: Multimodality & Politics.
     AVIOS/SpeechTEK West 2007, San Francisco, California, February 22, 2007.

225. Gilbert, J.E. Applications Quest: Achieving Diversity in the Proposal 2 Era System,
     University of Michigan, Ann Arbor, MI, January 30, 2007.

226. Gilbert, J.E. The Prime Voting System: A Secure, Multimodal Electronic Voting
     System, Northwestern University, Evanston, IL, January 16, 2007.

227. Gilbert, J.E. Intelligent Instruction with Computer Assisted Pedagogy, Juxtopia
     Urban Learning Technology (JULT) Conference, Baltimore, MD, December 2, 2006.

228. Gilbert, J.E. Race Conscious Policies in Education with Applications Quest, Jackson
     State University, Jackson, MS, November 9, 2006.

229. Gilbert, J.E. Barriers for Underrepresented Groups to STEM: Why Don't You
     Like Science, Technology, Engineering or Mathematics?, Jackson State University,
     Jackson, MS, November 9, 2006.

230. (Keynote)
     Gilbert, J.E. Academic Jobs … The Professoriate, Southern Region Education Board,
     Institute on Teaching and Mentoring, Miami, FL, October 27, 2006.

231. (Keynote)
     Gilbert, J.E. Research, Mentoring, Graduate School and the Professoriate, Bring IT
     On!, Indiana University, Bloomington, IN, October 20, 2006.

232. Gilbert, J.E., Applications Quest: Affirmative Action, Race Neutral Admissions,
     and Holistic Review ... What's Really Fair?, Indiana University, Bloomington, IN,
     October 20, 2006.

233. Gilbert, J.E., Computing Diversity: Affirmative Action and Race Neutral Policies,
     Cornell University, Ithaca, NY, September 13, 2006.

234. Gilbert, J.E., Preparation for the Professoriate: Pathways, Passion, and Purpose,
     PROMISE: Maryland's Alliance for Graduate Education and the Professoriate (AGEP),
     Baltimore, Maryland, August 18, 2006.

235. Gilbert, J.E., Graduate School for the Working Professional, 28th Annual National
     BDPA Conference, Los Angeles, California, August 2, 2006.

236. Gilbert, J.E., Esterman, M., & Geiger, C.D. The Academic Job Search, 8th Annual
     National GEM Consortium Symposium Future Faculty and Professionals Symposium,
     June 29, 2006, Chicago, Illinois.




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237. Gilbert, J.E. Applications Quest: Using Diversity in Admissions ... Computationally
     Speaking, University of Georgia, Athens, GA, June 23, 2006.

238. (Commencement Speaker)
     Gilbert, J.E., Hamilton High School Annual Commencement Ceremony, Millett Hall,
     Oxford, Ohio, June 5, 2006.

239. Gilbert, J.E., Graduate School and the Professoriate, Association of
     Computer/Information Sciences and Engineering Departments at Minority Institutions
     (ADMI), Orlando, FL, May 19, 2006.

240. Gilbert, J.E., Holistic Review in Admissions: Demonstrating a Computerized Tool,
     American Association for the Advancement of Science, Washington DC, May 16,
     2006.

241. Gilbert, J.E., Jackson, J.F.L., Sims, P. & Beachum, F. The State of African-American
     Men in Milwaukee, Wisconsin: Lets Talk!, Marquette University, Milwaukee, WI,
     April 21, 2006.

242. Gilbert, J.E., Applications Quest: Computing Diversity, University of South
     Carolina, Columbia, South Carolina, April 14, 2006.

243. Gilbert, J.E., The Next Black Ph.D. It’s More Than Just Research, Benedict College,
     Columbia, South Carolina, April 13, 2006.

244. Gilbert, J.E., The Next Black Ph.D. It’s More Than Just Research, The National
     Society of Black Engineers 32nd Annual National Convention, Pittsburgh, PA, March
     31, 2006.

245. Gilbert, J.E., Show Me the Money, Careers in STEM, Rufus King High School,
     Milwaukee, WI, March 29, 2006.

246. Gilbert, J.E., Applications Quest: Computing Diversity, Marquette University,
     Milwaukee, WI, March 28, 2006.

247. Gilbert, J.E., Prime III Ushering in a New Age of Electronic Voting, Marquette
     University, Milwaukee, WI, March 27, 2006.

248. Gilbert, J.E., Preparing for Disaster with Technology, Alabama Association of
     Assessing Officials Conference, Opelika, AL, March 1, 2006.

249. Gilbert, J. E. The Holistic Usability Measure (HUM): Evaluating Spoken Language
     Systems. AVIOS/SpeechTEK West 2006, San Francisco, California, January 31, 2006.

250. Gilbert, J.E., Is The Ph.D. Really Worth?: Transitioning To Graduate School,
     Albany State University, Albany, GA, January 28, 2006.


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251. Gilbert, J.E., Broaden Participation in STEM or Else, Morehouse College, Atlanta,
     GA, January 17, 2006.

252. Gilbert, J.E., Emergency Preparedness, Alabama Municipal Revenue Officers
     Association and Auburn University Center for Governmental Services, Generating
     Revenue for Cities Conference, Auburn, AL, December 8, 2005.

253. (Keynote)
     Fun-Set Social and Charity Club Beautillion Ball 2005, Huntsville, AL, November 19,
     2005.

254. Gilbert, J.E., The Usability of Usability, World Usability Day, Auburn University,
     Auburn, AL, November 3, 2005.

255. Gilbert, J.E., Applications Quest: Computing Diversity to Address Affirmative
     Action. University of North Carolina Charlotte, Charlotte, NC, October 14, 2005.

256. Gilbert, J.E., Collaborations for Success: Industry & The Academy, I-85 Corridor
     Alliance, Auburn University, Auburn University Dixon Hotel & Conference Center,
     Auburn, AL, September 16, 2005.

257. Gilbert, J.E., Applications Quest: Using Technology to Address Affirmative Action,
     27th Annual National BDPA Conference, Detroit, MI, August 20, 2005.

258. Gilbert, J.E., Distributed Listening, Advanced Speech Technologies Symposium:
     Emerging Technologies, SpeechTEK Conference, August 1, 2005.

259. Gilbert, J.E., Applications Quest: Computing Diversity to Address Affirmative
     Action. Rice University, Houston, TX, July 29, 2005.

260. Gilbert, J.E., Esterman, M., & Gates, A. The Academic Job Search and the Tenure-
     Track Process, 7th Annual National GEM Consortium Symposium Future Faculty and
     Professionals Symposium, June 30, 2005, Boston, Massachusetts.

261. Gilbert, J.E., Barrera, E., & Marder, S. Developing Successful Mentoring
     Relationships, 7th Annual National GEM Consortium Symposium Future Faculty and
     Professionals Symposium, June 30, 2005, Boston, Massachusetts.

262. Gilbert, J.E., Using Culture and Diversity to Recode the Matrix of the New
     Millennium Workforce. Rensselaer Polytechnic Institute, Troy, NY, April 21, 2005.

263. Gilbert, J.E., How to Choose A Doctoral Mentor and Why This Is Critical to Your
     Success. Arizona State University, Phoenix, AZ, April 18, 2005.




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264. Gilbert, J.E., Distributed Listening: Improving Speech Recognition Accuracy,
     Virginia Polytechnic Institute and State University, Blacksburg, VA, February 3, 2005.

265. Gilbert, J.E., Application Quest: Computing Diversity, Virginia Polytechnic Institute
     and State University, Blacksburg, VA, February 3, 2005.

266. Gilbert, J.E., Application Quest: Computing Diversity, Rensselaer Polytechnic
     Institute, Troy, NY, January 19, 2005.

267. Gilbert, J.E., Application Quest: Computing Diversity, Miami University, Oxford,
     OH October 29, 2004.

268. Gilbert, J.E., Ask The Experts, Speech in Government/Public Sector, SpeechTEK
     Conference, September 13, 2004.

269. Gilbert, J.E., Applications Quest: Using Clustering Algorithms to Address
     Affirmative Action, 10th Annual Conference for African-American Researchers in the
     Mathematical Sciences (CAARMS10), June 24, 2004, Berkeley, California.

270. Gilbert, J.E., Spoken Language Systems Research, University of Maryland College
     Park, June 17, 2004, College Park, Maryland.

271. Gilbert, J.E., Building the Future Black Faculty Pipeline, AfroGEEKS Conference,
     University of California Santa Barbara, May 7-8, 2004, Santa Barbara, California.

272. Gilbert, J.E., Applications Quest: Using Technology to Address Affirmative Action,
     Florida A&M University, April 20, 2004, Tallahassee, Florida.

273. Gilbert, J.E., Speech User Interfaces for Information Retrieval, University of
     Maryland, Baltimore County, April 6, 2004, Baltimore, Maryland.

274. Gilbert, J.E., Global Information Technology, The 4th Annual African American
     Leadership Summit, Miami University, February 21, 2004
     Oxford, Ohio.

275. Gilbert, J.E. “Using Technology to Diversify University Campuses”, Auburn
     University Africana Studies Lecture Series, 208 Foy Union, January 15, 2004, Auburn
     University, Alabama.

276. Gilbert, J.E., Voice LETS, Criminal Justice Technology Symposium V , Marriott
     Grand Hotel, December 4, 2003, Point Clear, Alabama.

277. Gilbert, J.E., Voice elVIAS, Georgia Institute of Technology – Access Grid
     Presentation, June 17, 2003, Atlanta, Georgia.




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278. Gilbert, J.E., Going to Graduate School for Computer Science, Tuskegee University,
     March 6, 2003, Tuskegee, Alabama.

279. Gilbert, J.E., Technology for African American Survival: Tech Talk, The 3rd
     Annual African American Leadership Summit, Miami University
     February 22, 2003, Oxford, Ohio.

280. Gilbert, J.E., Information Verbalization, University of Alabama-Birmingham,
     September 19, 2002, Birmingham, Alabama.

281. Gilbert, J.E., An Introduction to VoiceXML: Adding Voice To Data, BDPA 2002
     24th Annual National Conference, August 9, 2002, Orlando, Florida.

282. Gilbert, J.E., African American Distributed Multiple Learning Styles System: A
     Culture-specific Approach to ELearning, BDPA 2002 24th Annual National
     Conference, August 9, 2002, Orlando, Florida.

283. Gilbert, J.E., Animated Pedagogical Agents, Southern Polytechnical State University,
     April 10, 2002, Marietta, Georgia.

284. Gilbert, J.E., Making Learning Personal With Adaptive Instruction, University of
     Houston Clear Lake, April 1, 2002, Houston, Texas.

285. Gilbert, J.E., Finding Information With Your Voice (Anywhere, Anytime, Any
     Device), University of Houston Clear Lake, April 1, 2002
     Houston, Texas.

286. Gilbert, J.E., Making Learning Personal With Adaptive Instruction, Vanderbilt
     University, March 24, 2002, Nashville, Tennessee.

287. Gilbert, J.E., Technology in the Next Millennium, The 2nd Annual African American
     Leadership Summit, Miami University, February 16, 2002, Hamilton, Ohio.

288. Gilbert, J.E., Browsing the Internet with Voice Portals: A New Wave in
     Technology, African American Entrepreneurship Summit, Auburn University,
     February 14, 2002, Auburn, Alabama.

289. Gilbert, J.E., African American Distributed Multiple Learning Styles System: A
     Culture-specific Approach to ELearning, ACM Richard Tapia Celebration of
     Diversity in Computing, October 20, 2001, Houston, Texas.

290. Gilbert, J.E., E-Commerce, E-Culture and the Digital Divide … Where Are We
     Headed?, Black Client Workshop, Cincinnati, Ohio, Cincinnati Convention Center,
     June 8, 2000, Cincinnati, Ohio.




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 291. Gilbert, J.E., Selecting Instructional Technology, Xavier University, September 10,
      1999, Cincinnati, Ohio.

 292. Gilbert, J.E., Electronic Commerce, BDPA Cincinnati Chapter, Greater Cincinnati
      Urban League, August 11, 1999, Cincinnati, Ohio.

 293. Gilbert, J.E., E-Commerce & Web Branding: A Use For Persuasive Technologies,
      5th Annual Conference for African-American Researchers in the Mathematical
      Sciences - CAARMS5, University of Michigan, June 22 - 25, 1999, Ann Arbor,
      Michigan.

 294. Gilbert, J.E., Teaching with Interactive Media Now & in the Future, Interactive
      Media Studies Conference '98, Miami University, November 20, 1998, Oxford, Ohio.

 295. Gilbert, J.E., JavaScript, Greater Cincinnati Library Consortium, Cincinnati State
      Community College, November 10, 1998, Cincinnati, Ohio.

 296. Gilbert, J.E., Java, Association for Computing Machinery Miami University Chapter,
      Miami University, October 21, 1998, Oxford, Ohio.

 297. Gilbert, J.E., JavaScript as a Web-Development Tool, University of Cincinnati,
      December 4, 1997, Cincinnati, Ohio.

 298. Gilbert, J.E., Web-based Instruction System for Education with Interactive Video,
      Learning With Technology Conference, The Ohio State University, June 19, 1997,
      Columbus, Ohio

Other Presentations

 1.   Palmer, D. Blake, L.A., Howell, G., Albence, A., & Gilbert, J.E. (2020), Ballot-
      Marking Devices and Accessibility, U.S. Election Assistance Commission 2020
      Elections Disability, Accessibility, and Security Forum, Washington, DC, February 20,
      2020.

 2.   Dahlberg, M.L., Gilbert, J.E., Tull, R., Zavala, M.E., Byars-Winston, A., & Staussun, K.
      (2019), Effective Mentoring: Strategies and Experiences, American Association for
      the Advancement of Science (AAAS) Annual Meeting, Washington, DC, February 16,
      2019.

 3.   Darville G., Anderson – Lewis, C., Stellefson, M., Lee, Y., MacInnes, J., Pigg, R. M.,
      Gilbert, J.E., & Thomas, S. (November 5th – 8th, 2017). Customization of Avatars in a
      Digital Gaming Intervention – An Experimental Study. Abstract accepted for
      presentation at the 145th APHA Annual Meeting & Exposition – Atlanta, GA.




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4.   Frierson, H., Malcom, S., Moore, J.L., Stassun, K., Campbell, P.B. & Gilbert, J.E. The
     Enduring Trek to Diversify STEM PhD Programs. 2017 AERA, San Antonio, TX,
     April 28, 2017.

5.   Gilbert, J.E., Munakata Marr, J., Thomas, R.C., El Maghraoui, K., & Lasich, D.,
     Minority Women: Diversity and Mentoring in the Research Environment, 11th
     Annual Conference for the Society of Women Engineers (SWE), Chicago, IL, October
     15, 2011.

6.   Jackson, J.F.L., Charleston, L., & Gilbert, J.E., Changing Attitudes about Computing
     Science at Historically Black Colleges and Universities: Benefits of an Intervention
     Program Designed for Undergraduates, 4th Annual Conference on Understanding
     Interventions that Broaden Participation in Research Careers, Nashville, TN, May 28,
     2011.

7.   Gilbert, J.E., Burnett, M., Ladner, R., Rosson, M.B., & Davis, J., Applying the NSF
     Broader Impacts Criteria to HCI Research, ACM 2011 CHI Conference on Human
     Factors in Computing Systems, Vancouver, CA, May 10, 2011.

8.   Bang, M., Everett, A., Gomez, K. & Gilbert, J.E., Research and Practice in Education,
     Media, and People of Color, American Education Research Association (AERA), New
     Orleans, LA, April 7, 2011.

9.   Blake, M.B., Camp, T., Gilbert, J.E., Perez-Quinones, M., Williams, A., Choosing the
     Administrative Path, Richard Tapia Celebration of Diversity in Computing, San
     Francisco, CA, April 5, 2011.

10. Jackson, J.F.L., Gilbert, J.E., Charleston, L.J., & Gosha, K., Differential Gender Effects
    of a STEM-Based Intervention: An Examination of the African American
    Researchers in Computing Sciences Program, American Education Research
    Association (AERA), Denver, Colorado, May 4, 2010.

11. Jackson, J., Gilbert, J.E., Walker, J.L., & Williams, A.T., Changing Attitudes about
    Computing Science: Benefits of an Intervention Program Designed for African
    American Undergraduates, American Association of Blacks in Higher Education
    (AABHE), Atlanta, GA, March 26, 2010.

12. Burge, J., Gilbert, J.E., & Lopez, P. Finding the Best Career Choice for You.
    Academic Careers Workshops for Underrepresented Participants, Coalition to Diversity
    Computing (CDC), Houston, TX, March 6, 2010.

13. Gilbert, J.E. Opportunities in Diversity Research. Auburn University, Auburn, AL,
    January 28, 2008.




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14. Jackson, J., George, P. & Gilbert, J.E. Interventions that Show Great Promise for
    Increasing African American Computing Scientists in Higher Education: Evidence
    from the African American Researchers in Computing Sciences Program. 2007
    AERA, Chicago, IL, April 10, 2007.

15. Hood, S. & Gilbert, J.E., Alternative Assessment: Using a Culturally Relevant,
    Computer-Based Interactive Tool (AADMLSS) to Assess Students' Eighth-Grade
    Algebra Knowledge. American Education Research Association (AERA), San
    Francisco, CA, April 8, 2006.

16. Gilbert, J.E., Thinking Outside the Box: Engaging Students in Creative Thought,
    Auburn University Forum on College Teaching and Learning, Auburn, AL, February 4,
    2006.

17. Gilbert, J.E. & York, B., The Computer Science Academic Job Search, 2005 Richard
    Tapia Celebration of Diversity in Computing Conference, Albuquerque, New Mexico,
    October 21, 2005.

18. Gilbert, J.E., How to Start a Successful Research Program: A Diverse Perspective,
    Texas A&M University Academic Career Workshop Focus: Underrepresented Faculty,
    College Station, Texas, September 9, 2005.

19. Gilbert, J.E., How to Navigate the Tenure Process: A Diverse Perspective, Texas
    A&M University Academic Career Workshop Focus: Underrepresented Faculty, College
    Station, Texas, September 9, 2005.

20. Gilbert, J.E., Wilson, D. & Gupta, P., Evaluating Voice User Interfaces Workshop,
    SpeechTEK Conference, August 1, 2005.

21. Jackson, J.F.L., Moore, J.L., Cole, D., McNeal, L., Gilbert, J.E., Williams, B.N., and
    Ford, D.Y., The Theory of Reasoned Action: Examining Sociological Factors that
    Influence Education for African American Males. American Education Research
    Association Annual Conference. April 12, 2005, Montreal, Canada.

22. Gilbert, J.E., Voice User Interface Workshop, SpeechTEK Conference, September 13,
    2004.

23. Gilbert, J.E. & Others, The Survival of African American Men In The Academy:
    Rules of Engagement, Vanderbilt University, Black Culture Center, October 11, 2002,
    Nashville, Tennessee.




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24. (Best Poster Presentation)
    Rankins, J., Gilbert, J., Brown, P., Pemberton, C., Kacmar C., McDuffie, E., I-CAN: An
    Interactive-Computer Assisted Network for Bridging the Chronic Disease Divide
    between African-Americans and Caucasians, ACM Richard Tapia Celebration of
    Diversity in Computing
    October 20, 2001, Houston, Texas.

Honors & Awards

2020   Member, Academy of Science, Engineering and Medicine of Florida (ASEMFL)

2018   Fellow, Association of Computing Machinery (ACM)

2018   Computing Research Association (CRA) A. Nico Habermann Award

2018   Self-Advocates Becoming Empowered (SABE) Presidential Award

2017   Fellow, National Academy of Inventors (NAI)

2016   Southern Region Education Board (SREB) Faculty Mentor of the Year

2015   AAAS-Lemelson Foundation Invention Ambassador

2015   University of Cincinnati The Alta Petit Award, Presidential Medal

2014   American Association for the Advancement of Science (AAAS) Mentor Award

2013   Featured as a Black Tech Game Changer by NPR on December 12, 2013 under
       #NPRBlacksInTech on Twitter

2013   Featured in People of ACM in the ACM Bulletin on October 3, 2013

2013   Auburn University Black Graduate and Professional Student Association creates
       the Juan E. Gilbert, Ph.D. Distinguished Lecture Series

2013   Named an Idea Maker: Ten Tech Innovators in 2013 by the Chronicle of Higher
       Education

2013   Richard A. Tapia Achievement Award

2013   Clemson University Research Foundation (CURF) Inventor’s Club

2012   Federal Communications Commission (FCC) Chairman's Awards for
       Advancement in Accessibility



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2012    Named one of the 2012 The Root 100 Black Influencers and Achievers

2012    2012 National Center for Women in IT (NCWIT) Undergraduate Research
        Mentoring Award

2012    2012 Hamilton, Ohio Booker T. Washington Community Center Academic
        Excellence Award

2012    2012 Miami University Bishop Medal Alumni Award

2012    February 2012 Named “Dr. Juan Gilbert Month” by Hamilton, Ohio City Council

2012    Recipient of the Hamilton, Ohio City Council Key to the City

2012    Council for Advancement and Support of Education (CASE) District III Grand
        Award Winner for Audiovisual Communication, “Prime III: The world’s first all-
        accessible, electronic voting system”

2011    Presidential Award for Excellence in Science, Mathematics, and Engineering
        Mentoring (PAESMEM)

2011    Minority Media and Telecommunications Council Broadband and Social Justice
        Blog People’s Hero of the Week

2011    Clemson University Board of Trustees 2011 Award for Faculty Excellence

2010    Fellow, American Association for the Advancement of Science (AAAS)

2010    ACM Distinguished Scientist

2008-   Named 1 of the 50 Most Important African Americans in Technology
2015    (eAccess Corp of San Francisco, John William Templeton, president/executive editor)

2011    Fellow, African Scientific Institute (ASI)

2010    Academic Keys Who’s Who in Sciences Education

2010    Clemson University Board of Trustees 2010 Award for Faculty Excellence

2009    Clemson University Board of Trustees 2009 Award for Faculty Excellence

2010– IEEE Computer Society Distinguished Visitors Program (DVP)
2012

2009    Speech Technology Magazine Speech Luminary Award Recipient



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2009    University of Texas at Austin IC2 Institute Global Fellow

2008    IEEE Computer Society Golden Core Award

2008    National Associate of the National Research Council of the National Academies

2009    Featured as a Master of Innovation by Black Enterprise Magazine March 2009

2009    Black Engineer of the Year Modern Day Technology Leadership Award

2009    Auburn University Computer Science & Software Engineering Outstanding
        Engineering Faculty Award

2009    Information Today, Inc. Voice User Interface Design Contest Winner

2008    Fellow, Auburn University Center for Governmental Services

2008    National Society of Black Engineers Golden Torch Award for Pioneer of the Year

2008    BDPA Epsilon Award for Outstanding Technical Contribution

2008    Auburn University Distinguished Diversity Researcher Award

2007    Total System Services Inc. (T-SYS) Distinguished Professorship

2007-   ACM Distinguished Speaker
2015

2007    Honored Member of the Premier International Who's Who Registry of Outstanding
        Professionals 2007-2008 Edition

2007    Minority Access, Inc. National Researcher Role Model Award Recipient

2007    Led the First Runner-Up and Best in Class Winner of the First Annual AVIOS
        Speech Application Contest Team

2007    Who’s Who in Science and Engineering

2006    Total System Services Inc. (T-SYS) Distinguished Associate Professorship

2006    Elevated to Senior Membership of the IEEE Computer Society

2006    Microsoft Research External Research Fund Recipient

2006    Ralph H. Metcalfe, Sr. Chair - Marquette University



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2006   Featured in City Year New York Martin Luther King, Jr. Mural Painting in Honor
       of Diversity in Technology

2006   Metropolitan Who’s Who Registry

2006   Who’s Who in America

2006   Invited as a Presenter at the 2006 National Academy Annual Meeting

2005   Invited to the National Academy of Engineering Frontiers of Engineering Symposia

2005   Named an Honorary Citizen of Huntsville, Alabama by The City Council and
       Mayor of Huntsville

2005   100 Black Men of Greater Auburn/Opelika, Inc. Superior Academic Service Award

2005   American Society for Engineering Education (ASEE) DuPont Minorities in
       Engineering Award

2005   United Who’s Who Executive Registry

2005   Auburn University Outstanding Minority Service Award

2005   Auburn University Alumni Outstanding Minority Achievement Award

2005   Auburn University Computer Science & Software Engineering Outstanding
       Engineering Faculty Award

2005   Black Engineer of the Year Special Recognition Award Recipient

2004   Invited to the National Academy of Sciences Beckman Frontiers of Science
       Symposia

2003   Auburn University Alumni Engineering Council Junior Faculty Research Award

2003   The Coalition to Diversity Computing Conference Scholarship Winner

2002   One of 250 researchers listed on LESTER (Learning Science & Technology
       Repository)

2002   Featured on
       Minority Scientist Network a publication of the
       American Association for the Advancement of Science

2002   Featured in
       Who's Who in Engineering Education (WWEE), 2002 edition


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 2002    (Profiled in Black Issues in Higher Education as a top scholar)
         (De)Programming Stereotypes. Black Issues In Higher Education. 18, 23, (2002).

 2002    Georgia Institute of Technology FOCUS Fellow

 1999    Miami University Leadership Commitment Selection

 1999    ACM/IBM Quest for Java 99 Contest 5th Prize Winner

 1998    International WHO'S WHO of Information Technology

 1997    Albert C. Yates Fellowship, University of Cincinnati

 1995    Dean’s Fellowship, The Ohio State University

 1994    Great Performance Award, NCR Corporation

 1990    NCR Innovative Thinker’s Contest Winner, Miami University

 1988    NCR Minority Scholarship Award, Miami University

 1988    Black Student Action Association Service Award, Miami University

Experience

2015- Present   University of Florida (Gainesville, FL), Professor & Department Chair,
                Computer & Information Science & Engineering Department

2014 – 2015     University of Florida (Gainesville, FL), Professor & Associate Chair of
                Research, Computer & Information Science & Engineering Department

2009 – 2014     Clemson University (Clemson, SC), Professor & Chair
                Division of Human-Centered Computing

2010 – 2012     Clemson University (Clemson, SC), Graduate Program Director
                Division of Human-Centered Computing

2009            Auburn University (Auburn, AL), Professor

2005 – 2009     Auburn University (Auburn, AL), Associate Professor

2007 – 2016     President and Chief Technology Officer, Applications Quest™, LLC.
                 -http://www.ApplicationsQuest.com/



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2009 – 2012      Technical Advisor to Everyone Counts Inc.
                  -http://www.EveryoneCounts.com/

2006 – Present   Consultant, American Association for the Advancement of Science (AAAS)
                 Center for Advancing Science & Engineering Capacity
                 http://php.aaas.org/programs/centers/capacity/01_About/01_ConsultantRoster.php


2000 – 2005      Auburn University (Auburn, AL), Assistant Professor

2000 – 2016      Brothers of the Academy Institute
                 *Webmaster
                  -http://www.BrothersOfTheAcademy.org/

1998 - 2000      Miami University (OH), Visiting Instructor, Systems Analysis Department

1997             The Ohio State University (Teaching Assistantship)
                 *C++ Programming for Engineers(Spring 1997)

1996 – 1997      Computer Science Adjunct Faculty, Columbus State Community College,
                 Columbus, Ohio
                 *Database Programming with Oracle (Summer 1996)
                 *PC Operating Systems DOS/Windows (Autumn 1996)
                 *Program Design and Development(Winter-Spring 1997)

1988 – 1995      NCR Corporation, Dayton, Ohio
                 * Application Development and Consulting
                 * DBA for World Wide Orders System on Teradata Database
                 * Application Development in Visual C++
                 * Managed & documented Filepro database
                 * Installed PC's, printers, & software
                 * Investigated new system software

1988 – 1991      Applied Science Department, Miami University, Oxford OH
                 *Monitor PC-Network maintenance
                 *Monitor computer Lab Operations
                 *Tutor Systems Analysis majors
                 * Manage Network for engineering students

Memberships

         ACM (Association for Computing Machinery) (http://www.acm.org/)

         American Association for the Advancement of Science (AAAS)

         ACM US Technology Policy Committee (https://www.acm.org/public-policy/ustpc/)


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  Human Factors and Ergonomics Society (HFES)

  User Experience Professional’s Association (UXPA)

  IEEE Computer Society

  American Society for Engineering Education (ASEE)

  International Artificial Intelligence in Education Society (AIED)

  AACE (Association for the Advancement of Computing in Education)

  American Education Research Association (AERA)

  Association for Voice Interaction Design (AVIxD)

  ACM SIGACCESS
  Special Interest Group on Accessible Computing

  ACM SIGCSE
  Special Interest Group on Computer Science Education

  ACM SIGCAS
  Special Interest Group on Computers and Society

  ACM SIGCHI
  Special Interest Group on Computer-Human Interaction

  National Society of Black Engineers (NSBE)

  Adaptive Hypertext & Hypermedia

  Upsilon Pi Epsilon

  BDPA (Black Data Processing Association)

  American Association of Blacks in Higher Education (AABHE)

  Kappa Alpha Psi Fraternity Inc.




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Service

2017 – Present   Human Factors and Ergonomics Society (HFES) Internet Technical
                 Group (ITG) Chair

2019 – Present   Sloan-AAAS-Education Counsel Advisory Committee

2019 – Present   ACM Diversity & Inclusion Council Member

2016 - Present   University of Central Florida Industrial Advisory Board Member

2017 – Present   University of Florida African-American Studies Advisory Board

2017 – Present   BDPA National Board Member

2018 – 2021      NSF Committee on Equal Opportunities in Science and Engineering
                 (CEOSE) Advisory Committee

2017 – Present   APLU NSF Engineering Databooks Advisory Committee

2018 - 2019      University of Florida African-American Studies Program Director
                 Search Committee

2017-2019        Human Factors and Ergonomics Society (HFES) Conference
                 Internet Technical Group (ITG) Program Chair

2019 - 2020      National Academies of Sciences, Engineering and Medicine
                 (NASEM) Committee on The Role of Authentic STEM Learning
                 Experiences in Developing Interest and Competencies for
                 Technology and Computing

2017 - 2019      National Academies of Sciences, Engineering and Medicine
                 (NASEM) Committee on The Science of Effective Mentoring in
                 Science, Technology, Engineering, Medicine, and Mathematics
                 (STEMM)

2019             ACM SIGCHI Conference Reviewer

2019             Served as a Reviewer for William T. Grant Foundation

2019 - 2022      ACM Heidelberg Laureate Forum Selection Committee Member

2017 – 2019      National Academies of Sciences, Engineering and Medicine
                 (NASEM) Committee on The Future of Voting: Accessible,
                 Reliable, Verifiable Technology



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2018           Served as a reviewer for the Journal of Women and Minorities in
               Science and Engineering

2018           Served as a reviewer for Automation in Construction Journal

2017 - 2018    Intel Corporation HBCU Diversity Initiative External Advisory
               Board Member

2017           Applied Human Factors and Ergonomics (AHFE) 2017
               International Conference for the Design for Inclusion Scientific
               Advisory Board Member

2017           Served as a reviewer for Communications of the ACM

2017           Served as a reviewer for Computers & Security Journal

2017           Human Factors and Ergonomics Society (HFES) Conference User
               Experience (UX) Day Program Committee

2017           Served as NSF Panel Reviewer

2016           Human Factors and Ergonomics Society (HFES) Conference User
               Experience (UX) Day Marc Resnick Best Paper Award Judge

2016           Human Factors and Ergonomics Society (HFES) Conference User
               Experience (UX) Day Leadership Development Workshop Chair

2016           Served as a reviewer for Computers & Security Journal

2015           Human Factors and Ergonomics Society (HFES) Conference User
               Experience (UX) Day Contest Judge and Mentor

2015-2017      Applied Human Factors and Ergonomics (AHFE)
               Design for Inclusion 2016 Scientific Advisory Board

2015-2017      USACM Executive Council Member

2015-2017      Served on Advisory Board for the California Association of Voting
               Officials (CAVO)

2015-Present   Advisor, University of Florida National Society of Black Engineers
               (NSBE)

2015-2018      Served on Advisory Board for the Consortium Enabling
               Cybersecurity Opportunities and Research (CECOR)



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2015          Served as an Internal Reviewer for the UF Pew Scholars Program
              in Biomedical Sciences

2015          Served on Program Committee for RESPECT 2015 (Research in
              Equity and Sustained Participation in Engineering, Computing, and
              Technology)

2015          Served as a reviewer for ACM Computing Surveys

2014          Served as a reviewer for Applied Ergonomics Journal

2014          Served as a reviewer for Morgan Kaufman Publishers for HCI
              book

2014-2017     USACM E-Voting Subcommittee Chair

2014          Served as a NSF Panelist

2014          Served as a reviewer for Cyberpsychology, Behavior, and Social
              Networking Journal

2014-2016     American Association for the Advancement of Science (AAAS)
              Annual Scientific Program Committee Member

2013-2016     Served on the Boys & Girls Clubs of American STEAM Advisory
              Council

2014          Served as a reviewer for the International Journal of Artificial
              Intelligence in Education (IJAIED)

2013          Served as a reviewer for the Journal of STEM Education

2013          Served as a reviewer for the NCWIT Undergraduate Research
              Mentoring Award

2013          Served as a reviewer for Communications of the ACM

2012          Served as a reviewer for the Center for Culturally Responsive
              Evaluation and Assessment (CREA) Inaugural Conference

2012          ACM 2013 CHI Conference Paper Reviewer

2012          American Association for the Advancement of Science (AAAS)
              Mentor Award Committee Member




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2012 - 2014      Clemson University School of Computing Graduate Student
                 Association, Co-Advisor

2012 - 2014      Anderson District 5 Career Campus, Career and Technology
                 Advisory Council Member

2012 - 2014      Associate Partner on Advising Committee for AdeleRobots.com

2011 – Present   Advisory Board Member for AAAS-NSF Emerging Researchers
                 National (ERN) Conference in Science, Technology, Engineering
                 and Mathematics (STEM)

2010 – 2014      NSF Computer & Information Science & Engineering (CISE)
                 Advisory Committee Member

2010 – 2013      Member of the American Association for the Advancement of
                 Science (AAAS) Board appointed Committee on Opportunities in
                 Science (COOS)

2010 – 2013      American Association for the Advancement of Science (AAAS)
                 Early Career Award for Public Engagement Selection Committee
                 Member

2011 – 2014      Served on Clemson University President’s Commission on the
                 Status of Black Faculty and Staff

2012 - 2014      BMW Steering Circle Committee, Member

2012             Guest Blogger for Communications of the ACM

2012 - 2013      Chair, Coalition to Diversity Computing (CDC), joint organization
                 of the ACM, CRA and IEEE-CS

2011 - 2014      Clemson University CyberInstitute Steering Committee Chair

2011             Editorial Board Member for Special issue on Social Media and
                 Mobile Marketing in Journal of Research in Interactive Marketing

2011             Associate Editor for the International Journal of Health, Wellness
                 and Society

2011             Served as a reviewer for the Journal of STEM Education:
                 Innovations and Research

2011             Ford Foundation Fellowship Panelist



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2011          Advisory Board for DiverseBusinessNews.com

2011          Technical Program Committee Member for Learning Technologies
              for the Developing World (LT4D) Workshop for the The 11th IEEE
              International Conference on Advanced Learning Technologies
              (ICALT 2011)

2011          Served as a reviewer for the Personal and Ubiquitous Computing
              Journal Special Theme Issue on Automotive User Interfaces and
              Interactive Applications

2011          Served as a reviewer for 2012 IEEE International Electric Vehicle
              Conference

2010          Served as a reviewer for the Quality Education Forum Journal

2011          Served as a reviewer for Usability Professionals Association (UPA)
              2011 Conference

2010          Computer Science Education Week Steering Committee Member

2010          American Association for the Advancement of Science (AAAS)
              Mentor Award Selection Committee Member

2010          Served on 3 NSF Panels

2009 -        Clemson University School of Computing Graduate Recruiting
              Committee Chair

2010 -        Clemson University School of Computing Graduate Affairs
              Committee

2010          Clemson University Executive Vice-President for Research Search
              Committee Member

2010          Clemson University Computing and Information Technology
              EPSCoR Desktop to Teragrid Search Committee member.

2010          Clemson University Search Committee for Director of Access and
              Equity

2007 – 2009   IEEE Computer Society Board of Governors

2009 - 2015   ACM U.S. Public Policy Committee (USACM) Council Member




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2006 - 2008   IEEE Computer
              Broadening Participation in Computing Column Editor

2009 -        Journal of African American Males in Education
              Advisory Board Member

2010          Served as a review for ACM Transaction on Computing in
              Education

2010          Served as a review for IEEE Signal Processing Letters

2009          Served on 2 NSF Panels

2008          National Academy of Science France – U.S. Kavli Frontiers of
              Science Symposium Organizing Committee Member

2008          Served on the U.S. Election Assistance Commission
              Interdisciplinary Roundtable on Voluntary Voting Systems
              Guidelines (VVSG)

2009          IEEE International Conference on Multimedia & Expo (ICME
              2009) Technical Program Committee

2008          College Board and NSF Advanced Placement Computer Science
              Commission

2009          Speech Technology Conference Committee

2008          Auburn University Center for Governmental Services Associate
              Director Search Committee Chair

2008 – 2012   CRA-W/CDC Discipline Specific Mentoring Workshop Co-Chair

2006 – 2009   Editorial Advisory Board – Speech Technology Magazine

2008          Auburn University Outreach Symposium Committee

2008 – 2009   Auburn University Black Graduate and Professional Student
              Association (BGPSA) Faculty Advisor

2007          Served on the U.S. Election Assistance Commission Roundtable on
              Voluntary Voting Systems Guidelines (VVSG)




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2007 – 2009   Advisory Board Member for The Information Technology and
              Innovation Foundation’s Electronic Voting Initiative

2007 – 2014   Advisory Board Member for Juxtopia Inc.

2006 – 2014   Advisory Board Member for the Center for African-American
              Research and Policy

2007          Auburn University Diversity Research Institute Planning
              Committee Member

2007 – 2010   American Education Research Association (AERA)
              Communications and Outreach Committee Member

2007          SpeechTEK 2007 Voice User Interface Workshop Co-Chair
              VUI Designer as a Profession: Job Qualifications & Career Tracks

2007          Reviewer for Journal of STEM Education

2007          Reviewer for INTERACT 2007

2007          Workshop Committee Co-Chair for the 1st NSF International
              Workshop on Virtual Instructors, VI-2007, Georgetown University,
              May 21-22, 2007.

2007          Program Committee Member for the 2007 “Fixing the Academy”
              Tapping Black Excellence on White Campuses Conference, Johns
              Hopkins University, April 13-14, 2007.

2006 – 2008   Advisory Board for the QEM INFLOW Project, a project of the
              Quality Education for Minorities (QEM) Network supported by the
              National Science Foundation’s Engineering Directorate.

2006 – 2007   ACM Southeast Conference 2007 Program Committee

2006 – 2007   IEEE Computer Society Technical Committee on Learning
              Technology - Virtual Instructors Pilot Research Group (VIPRG)
              Conversational Interface Sub-Committee Chair

2007 – 2009   Served on the Auburn University Athletics Department Student
              Athlete Support Services (SASS) Advisory Board

2007          Auburn University Outreach Symposium Committee Member

2007 - 2009   Auburn University College of Engineering Graduate Student
              Recruitment Committee


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2007          ACM Richard Tapia Celebration of Diversity in Computing
              Birds of a Feather Co-Chair

2007          Reviewer for ACM CHI 2007

2007          Fixing the Academy: Tapping Black Excellence on White Campuses
              Papers Co Chair

2006          Reviewer for the International Journal of Interactive Technology
              and Smart Education

2006          Reviewer for IEEE Computer

2006          Reviewer for Journal of Women and Minorities in Science and
              Engineering

2006 – 2007   Served on the 2007 Program Committee for the Association of
              Computer and Information Science/Engineering Departments at
              Minority Institutions (ADMI)

2006          Program Committee Member for InterSpeech Satellite Workshop
              titled “Dialogue on dialogues: Multidisciplinary Evaluation of
              Advanced Speech-based Interactive Systems “

2006          Chaired the organization committee for the National Academy of
              Sciences Kavli Frontiers of Science Symposia

2005 - 2007   The American Society for Engineering Education (ASEE)
              Minorities in Engineering Award Committee Member

2005 – 2009   Auburn University Title VI Committee Member.

2006          Reviewer for the International Journal of Human-Computer
              Interaction

2005 - 2010   Black Data Processing Association (BDPA) Information
              Technology Institute Academic Chair

2005          International Conference on Multimodal User Interfaces (ICMI)
              Universal Access Program Area Chair

2005          ACM Richard Tapia Conference
              Celebration of Diversity in Computing
              Served on the Scholarship Committee



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2005             Served on the organization committee for the National Academy of
                 Sciences Beckman Frontiers of Science Symposia

October 20-21,   Served on the Computing Research Association’s (CRA)
2004             Workshop on Broadening Participation in Computing.

August 8, 2004   Served as the High School and College IT Showcase Lead Judge at
                 the 26th Annual National BDPA Conference.

2004             Served on the Editorial Review Board for International Journal on
                 ELearning and the Journal of Interactive Learning Research.

May 2004 -       Abstract Selection Committee for the 2004 SACNAS Conference
August 2004      (Society for Advancement of Chicanos/Latinos and Native
                 Americans in Science),
                 Austin, Texas from October 21-24, 2004.

February 2004    VoiceXML University: VoiceXML Education Exchange Review
- Present        Board Member
                 (http://www.voicexml.org/resources/vxml_university/index.html)

April 2004       International Conference on Computing, Communications and
                 Control Technologies: CCCT'04
                 Served on the External Paper Review Committee

March 25,        The 4th International Conference on Advanced Learning
2004             Technologies (ICALT 2004)
                 Aug. 30 - Sep. 1, 2004
                 Served on the External Paper Review Committee
                 http://lttf.ieee.org/icalt2004/committees.html

2003             Served on 3 NSF Proposal Review Panels

October 15-18,   ACM Richard Tapia Conference
2003             Celebration of Diversity in Computing
                 Served on the Scholarship Committee

October 1,       SpeechTEK 2003
2003             Served as Moderator for the
                 Building Brands with Speech Solutions Panel

Fall 2003        Served on the Africana Studies Major/Department Proposal
                 Committee for President Walker, lead by Dr. Keenan Grenell,
                 Interim Assistant Provost for Diversity and Multicultural Affairs



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August 22,       Served as a Review for Systemics, Cybernetics and Informatics
2003             2003

August 19,       Participated in the design of the
2003             VoiceXML Application Developer
                 Exam (developed by The VoiceXML Forum)

August 13-18,    BDPA 2003 25th National Annual Conference
2003             Workshops Deliver Manager/Chair

August 6, 2003   Serving as a reviewer for the Journal of Computing in Higher
                 Education

Spring 2003      Advised 2 undergraduate seniors at Tuskegee University on their
                 senior project.

2002 – 2010      Miami University Department of Computer Science & Systems
                 Analysis Advisory Committee Member

2003             National Black Data Processing Association Conference Workshop
                 Chair

2002             NSF Proposal Review Panel

October 2002     McGraw Hill Book Review (For the 2nd time)
                 C++ Programming: Lessons and Applications
                 by T. B. D’Orazio

October 2002     McGraw Hill Book Review
                 C++ Program Design
                 by Cohoon and Davidson

June 6, 2002     Black Data Processing Association & The Black World Today
                 Radio Talk Show Guest

April 2002       ACM Crossroads Magazine
                 HCI Issue Reviewer

March 2002       McGraw Hill Book Review
                 Applied C: An Introduction and More
                 by Alice Fischer, David Eggert & Stephen Ross

January 2002     McGraw Hill Book Review
                 C++ Programming: Lessons and Applications
                 by T. B. D’Orazio

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Summer 2001                   Project NIA: Taught summer course on computers to 7th and 8th
                              graders from Loachapoka Junior High School.

Doctoral Graduates (Major Professor)
      Graduate Student Graduation Date                                       Position
1.              *                               June 2, 2020        Assistant Professor, Purdue
                    Rua M. Williams
                                                                             University
2.              *+                              April 9, 2020     Media Democracy Fund Policy
                     Brianna Posadas
                                                                               Fellow
3.                  *+                        October 28, 2019     Assistant Professor, Lincoln
                         Tiffanie Smith
                                                                             University
4.     *                                        June 25, 2019     Assistant Professor, Washington
           Elizabeth A. Matthews
                                                                         & Lee University
5.         *+                                  March 13, 2019     Lecturer, University of Florida
                Sanethia V. Thomas
6.                  +                          August 3, 2018     Honda Research & Development
                        Jerone Dunbar
7.              *+                             March 16, 2018        Human Systems Research
                     Jessica N. Jones
                                                                      Scientist, Future Combat
                                                                     Systems Branch at NSWC
                                                                         Dahlgren Division
8.              ~+                             March 16, 2018       Assistant Professor, Clemson
                        Julian Brinkley
                                                                             University
9.              *+                             March 15, 2018                    Intel
                        France Jackson
10.             +                               July 24, 2017      Assistant Professor, University
                    Marvin Andujar
                                                                          of South Florida
11.              +                              July 17, 2017      Assistant Professor, University
                     Chris Crawford
                                                                             of Alabama
12.             *+                              June 30, 2015      Assistant Professor, Spelman
                     Andrea Johnson
                                                                               College
13.             *                            December 17, 2014      Jaguar Land Rover Research
                    Hanan Alnizami
14.             +                            November 17, 2014     Assistant Professor, University
                    Tamirat Abegaz
                                                                          of North Georgia
15.         *+                                  July 18, 2014       Assistant Professor IUPUI
                 Aqueasha Martin-
                    Hammond
16.             +                               July 18, 2014                   Intel
                  Joshua Ekandem
17.                  +                          April 3, 2013     Hortenius I. Chenault Endowed
                         Kinnis Gosha
                                                                  Associate Professor, Morehouse
                                                                              College
18.    ~+                                    December 18, 2012                  Intel
           Ignacio Javier Álvarez
                  Martínez
19.        *+                                   May 14, 2012                 Consultant
              Christin D. Shelton
20.             *+                            August 25, 2011        Research Scientist at NIST
                     Shanee Dawkins



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21.              *+                       March 23, 2011      Research Scientist at University
                      Wanda Eugene
                                                                        of Florida
22.              +                         July 28, 2010                  Intuit
                     Caio V. Soares
23.     *+                                 June 15, 2010       Teaching Specialist, Michigan
             Yolanda McMillian
                                                                      State University
24.     *+                                 May 21, 2010         U.S. Department of Defense
             Philicity K. Williams
25.               Kenneth Rouse            July 21, 2009       Associate Professor, Computer
                                                                  Science at LeTourneau
                                                                         University
26.      +                                 April 24, 2009        Senior Research Scientist,
             E. Vincent Cross, II
                                                                        TRACLabs
27.              David Thornton            July 14, 2008      Associate Professor, Jacksonville
                                                                      State University
28.      *+                                July 12, 2006        Associate Professor, UNC-
              Dale-Marie Wilson
                                                                         Charlotte
29.                   Yapin Zhong        September 16, 2003



Masters Graduates (Major Professor)
      Graduate Student Graduation Date                        Degree
1.          *+                            December 2019         M.S.
                 Isabel Laurenceau
2.           *                              August 2019         M.S.
                 Kiana Alikhademi
3.                *                       December 2017         M.S.
                 Divyalakshmi
                  Mahendran
4.           *+                           December 2014         M.S.
                Jessica N. Jones
5.                    *+                  December 2013         M.S.
                           Naja Mack
6.                    +                   December 2013         M.S.
                          Phillip Hall
7.               +                        December 2013         M.S.
                     Jerone Dunbar
8.                *                       December 2013         M.S.
                      Alison Nolan
9.               *+                          May 2013           M.S.
                      France Jackson
10.    John Mark Smotherman               December 2012         M.S.
11.              *                        October 21, 2009      M.S.
                     Lingyan Wang
        *                                 October 21, 2009    M.S.W.E.
12.         Vasavi Chilamantula
13.                   *                   October 20, 2009      M.S.
                          Anjeli Singh
14.          *+                           October 20, 2009      M.S.
                  Shanee Dawkins
15.               *                       August 10, 2009       M.S.
                      Wanda Moses
16.                   *                    August 6, 2009     M.S.W.E.
                          Yueqin Lin
17.      +                                 July 20, 2009        M.S.
             Jerome McClendon


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18.                  Josh Stephens          June 12, 2009     M.S.W.E.
19.              +                           May 4, 2009        M.S.
                     Gregory Rogers
20.                   +                     April 11, 2009      M.S.
                          Caio Soares
21.                   Jamey White           July 16, 2008     M.S.W.E.
22.     *                                   April 9, 2008       M.S.
            Philicity K. Williams
23.          *                               May 7, 2007      M.S.W.E.
                 Jennifer Garmon
24.          *+                             April 17, 2007      M.S.
                  Andrea Williams
25.               *                         April 6, 2007       M.S.
                      Ashley Wachs
26.              *                          April 5, 2007       M.S.
                     Kathryn Nobles
27.              Derek Anderson             April 5, 2007     M.S.W.E.
28.                  +                      April 2, 2007       M.S.
                         Kinnis Gosha
29.         *+                            December 6, 2006    M.S.W.E.
                 Christin Hamilton
30.                      Spencer Lee       August 4, 2006       M.S.
31.     *+                                  June 30, 2006       M.S.
             Alexandria Williams
32.                       Chao Wang          June 9, 2006       M.S.
33.                  Sanjith David          May 12, 2006      M.S.W.E.
34.                  Billy T. Baker         July 13, 2005     M.S.W.E.
35.              +                          April 8, 2005     M.S.W.E.
                     Andre Murphy
36.         *+                              April 8, 2005     M.S.W.E.
                 Michele Williams
37.      +                                 January 14, 2005   M.S.W.E.
             E. Vincent Cross, II
38.          +                            November 29, 2004   M.S.W.E.
                 Nicholas J. Parks
39.              *                         October 5, 2004      M.S.
                     Tongmin Shen
                 *
40.                  Priyanka Gupta          July 7, 2004       M.S.
            *+
41.              Bettina Cornelius           July 2, 2004       M.S.
                      *
42.                       Kristie Goss       May 5, 2004        M.S.
             *
43.              Sangeeta Garhyan            May 4, 2004        M.S.
             *
44.              Laura McDonald             April 12, 2004    M.S.W.E.
             *
45.              Michelle Howell          November 6, 2003    M.S.W.E.
        +
46.         Adeoye O Adeyemo                July 17, 2003     M.S.W.E.
                          *
47.                           Yifang Gu     July 16, 2003     M.S.W.E.
48.                       Yu Zhang          July 16, 2003     M.S.W.E.
        *+
49.          Tanecia K. Simmons             June 16, 2003     M.S.W.E.
                      *
50.                       Weihong Hu        May 21, 2003        M.S.


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             *+
 51.              Dale-Marie Wilson    December 5, 2002         M.S.
                    *
 52.                    Xiaoyan Qi     October 25, 2002       M.S.W.E.
                    *
 53.                    Yuehua Lin          July 26, 2002       M.S.
 54.              Dackral Phillips          July 9, 2002        M.S.
              *
 55.              Nupura Kolwalkar          June 26, 2002     M.S.W.E
 56.                    Haiyu Qi            May 30, 2002      M.S.W.E


Postdoctoral Researchers Advised
      Postdoc Researcher and Institution                      Dates
 1.     *+                                                  2017 - 2020
             Jeremy A. Waisome (U. of Florida)
 2.     +                                                   2013 - 2016
            Edward Dillon (U. of Alabama)
 3.     *+                                                  2013 - 2017
             Wanda Eugene (Auburn University)
 4.     +                                                   2013 - 2014
            Jamie Macbeth (UCLA)
 5.     *+                                                  2009 – 2011
             Deidra Morrison (Northwestern University)
        +
 6.         Shaun Gittens (U. of Maryland College-Park) 2007 – 2008



Undergraduate Honors Thesis Advised
         Researcher and Institution                           Dates
 1.     +                                                    12/9/2016
            Anthony Colas (U. of Florida)

‘*’ – female; ‘+’ – minority; ‘~’ – co-advisor




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  EXHIBIT B
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Herbert Wertheim College of Engineering                           E301 CSE Building
Computer & Information Science & Engineering                      PO Box 116120
                                                                  Gainesville, FL 32611-6120
                                                                  352-392.1200 Voice
                                                                  352-392-1220 Fax


Chairperson Lofgren, Ranking Member Davis, members of the Committee,

I am honored to share with you my expertise in voting systems security, accessibility and
usability. Let me begin by speaking about my background as it relates to this important
topic. I am the Andrew Banks Family Preeminence Endowed Professor and Chair of the
Computer & Information Science & Engineering Department at the University of Florida
where I lead the Human Experience Research Lab. I have worked in elections for more than
15 years conducting research, developing innovative technologies and conducting studies
with various elections stakeholders. In 2003, I developed an open source voting system
called Prime III in response to the 2000 Presidential Election and the Help America Vote
Act, or HAVA. To my knowledge, I am the only person to create an open source voting
system that has been used in federal, state and local elections. Prime III was the first
universally designed voting system, to my knowledge, meaning it was designed for all
voters, independent of their ability or disability. The idea was one machine that everyone
could use. This has benefits for accessibility, security and usability for voters and election
administrators. For example, the margin of victory of the 2016 Presidential Election was
smaller than the number of voters with disabilities that voted. If voters with disabilities are
the only people voting using a specific type of technology, then adversaries could simply
target that single population and impact the outcome of the election, see data from Rutgers’
reports below. After HAVA was passed, each voting precinct was required to have at least 1
accessible voting machine. Although this was a good idea making progress towards
increasing accessibility of our elections, there was one side effect. It setup a separate but
equal experience for voters with disabilities. As such, there were unexpected issues
introduced. For example, in some precincts, there were reports of the accessible voting
equipment not being setup because the poll workers didn’t know how to set it up.
Essentially, because few voters used it, it was not something the poll workers gave much
attention. Prime III has been used statewide in New Hampshire. New Hampshire adopted
Prime III as their accessible voting machine and renamed it, One4All. Butler county, Ohio,
which is my birth county, adopted Prime III as their remote accessible, absentee voting
system in 2018. ES&S is the nation’s largest voting machine manufacturer. ES&S created a
machine called the Universal ExpressVote. ExpressVote was designed after Prime III.
Dominion has the ImageCast Prime X machine that is very similar to Prime III as well. The
research and development of Prime III was supported by the National Science Foundation



The Foundation for The Gator Nation
An Equal Opportunity Institution
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and the U.S. Election Assistance Commission. The U.S. EAC supported this research and
development through a 5 year accessible voting technologies grant that created the Research
Alliance for Accessible Voting, RAAV. This grant helped setup Prime III research,
development and studies that have resulted in improvement in the state of the art in
elections technology. It also supported research and training for election administrators.
Grants such as the EAC accessible voting technologies project are crucial to achieving the
necessary security, accessibility and usability in our elections. Grants from the U.S. EAC
have resulted in very good findings that are improving our elections.

I would like to transition now into specific recommendations. In 2018, the National
Academies of Science, Engineering and Medicine released a consensus report titled,
“Securing the Vote: Protecting American Democracy” The report was the result of a 2 year
study conducted by experts from elections administration and policy, cybersecurity,
accessibility, and law. I was a member of this committee. Over the course of the study, the
committee reviewed extensive background materials. It held five meetings where invited
experts spoke to the committee about a range of topics including voter registration, voting
accessibility, voting technologies and market impediments to technological innovation,
cybersecurity, post-election audits, and the education and training of election workers. The
committee did not access classified information but instead relied on information in the
public domain, including state and federal government reports, published academic
literature, testimony from congressional hearings, and presentations to the committee.
Issues related to voting such as voter identification laws, gerrymandering, foreign and
domestic disinformation, campaign financing, and other similar topics were outside the
charge of the committee and therefore, are not included in the report.

The committee was inspired by dedicated and enlightened election officials from across the
nation and all levels of government. Such individuals are working tirelessly to improve
accessibility, harness new technologies, and ensure the integrity of the results of elections.
Unfortunately, these same officials often lack appropriate staff and resources and are
routinely hampered in their work by a patchwork of laws and regulations that make it
difficult to upgrade and modernize their election systems. U.S. elections are subject to aging
equipment, targeting by external actors, a lack of sustained funding, and growing
expectations that voting should be more accessible, convenient, and secure. The present
issues and threat environment provide an extraordinary opportunity to marshal science and
technology to create more resilient and adaptive election systems that are accessible,
reliable, verifiable, and secure.




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The Academies’ study committee recognized that the federal government has an important
role to play in understanding the impact of technological changes on the conduct of
elections and in evaluating possible remedies to election threats. It noted that the U.S. EAC
has a vital role to play in improving election administration and that NIST and NSF also
have important roles to play in advancing the state of the art in US elections. The committee
stated that the designation by the U.S. Department of Homeland Security of election
systems as a subsector of the existing government facilities critical infrastructure sector is
correct and appropriate, and that this designation reflects appropriately the need for
sophisticated technical expertise and sharing of intelligence information required to protect
the nation’s election infrastructure.

We must foster an environment that promotes innovation in election systems technology,
provides election administrators with human resource tools to increase the
professionalization of the election workforce, allocates appropriate resources for the
operation of elections, and better secures elections by developing auditing tools that
provide assurances that ballots cast are counted and tabulated correctly and that the results
of elections are accurate.

I would like to share some key recommendations from the report with you.

Elections should be conducted with human-readable paper ballots. These may be marked
by hand or by machine, using a ballot-marking device; they may be counted by hand or by
machine, using an optical scanner. Recounts and audits should be conducted by human
inspection of the human-readable portion of the paper ballots. Voting machines that do not
provide the capacity for independent auditing, for example, machines that do not produce a
voter-verifiable paper audit trail, should be removed from service as soon as possible.
Currently, there’s no known way to secure a digital ballot. At this time, any election that is
paperless is not secure. Therefore, Internet voting, specifically, the return of ballots should
not be used at this time.

Vendors and election officials should be required to report any detected efforts to probe,
tamper with, or interfere with any election systems, including, voter registration systems.

Each state should require a comprehensive system of post-election audits of processes and
outcomes.

A detailed set of cybersecurity best practices for state and local election officials should be
continuously developed and maintained.




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Congress should provide funding to help state and local governments modernize their
election systems and improve their cybersecurity capabilities. Congress should also
authorize and provide funding for a major research initiative on voting. In the report,
recommendation 7.3 says,

“Congress should authorize and fund immediately a major initiative on voting that
supports basic, applied, and translational research relevant to the administration, conduct,
and performance of elections. This initiative should include academic centers to foster
collaboration both across disciplines and with state and local election officials and
industry.”

This recommendation calls for a bold initiative to foster research and development towards
the mitigation of the issues outlined in the report. Such an initiative would be managed by
the relevant existing government agencies. These agencies are the U.S. EAC, NIST, U.S.
Department of Homeland Security, National Science Foundation, and U.S. Department of
Defense (DoD). This initiative would call for a minimum of $25 million in funding over a 5-
year period to establish a national center that has the primary focus of research and
development as it relates to making all aspects of elections secure, accessible, usable and
trustworthy. The center would work across universities, election officials, and elections
technologies companies. The proposed research center is critical to protecting our elections
and advancing the state of the art in elections to mitigate all domestic and foreign threats.

I would like to speak to a recent debate in the academic research community with respect to
hand-marked paper ballots and ballot marking devices (BMD). As previously mentioned, in
“Securing the Vote: Protecting American Democracy,” the committee was clear in their
recommendation that “Elections should be conducted with human-readable paper ballots.
These may be marked by hand or by machine, such as a ballot marking device (BMD).”
Following the release of the report, many States are moving away from paperless voting
machines to hand-marked paper ballots or BMD. At the onset, it is important for voters to
understand the difference in voting processes and how their votes are cast and counted.

In most BMD implementations, the voter makes selections using the BMD and a paper
ballot is produced with a QR code or some other barcode and the voters’ selections. The
barcode(s) represent the voters’ selections and are read by a separate scanner. In this case,
some are concerned that the barcode may not match the human-readable portion of the
ballot. To ensure a match, the national academies report recommends that all elections
should undergo an audit, for example a risk-limiting audit (RLA). This recommendation




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also applies to hand-marked paper ballots as well because they are fed through a scanner
for tallying. The audit would ensure that the election results are accurate and would
neutralize any barcode mismatches. Furthermore, if the barcodes don’t match, this provides
a forensic trail to investigate the mismatch.

Hand-marked paper ballots, unlike BMD voting, are susceptible to overvoting and
undervoting hacks. The undervote hack occurs when a voter decides not to make a selection
in a contest, in other words, they leave the contest blank. This is a natural response when a
voter doesn’t want to vote for any candidates in a particular contest. An insider could then
make a selection on that ballot. This will take two-to-five seconds and it’s impossible to
detect if the insider is not caught in the act. The overvote hack occurs when the voter makes
a selection, but the insider makes an additional selection causing an overvote, which would
lead to a nullified ballot. Like the undervote hack, this is undetectable unless the insider is
caught in the act. These hacks require very little expertise and time.

There have been claims that voters do not review their ballots that have been produced by a
BMD. Therefore, it’s possible to flip votes so that what is printed on the ballot isn’t what the
voter selected and if the voter doesn’t verify the ballot, the hack is successful. Dr. Michael
Byrne at Rice University has just completed a study and his findings differ. Dr. Byrne and
his colleagues have recently completed two separate studies on BMD ballot verification.
One was a proper experiment and one was a field study in Los Angeles, California. For the
experiment, they found that giving voters explicit reminders to verify their ballots resulted
in a significant increase in verification rate. They also found a higher verification rate for a
shorter ballot (5 races) than a longer one (40 races). Their results suggest that it is likely
possible to improve verification rates with a little bit of instruction.

For the field study, they went out to Los Angeles to observe their mock election using their
new VSAP (voting solution for all people) BMD, and found that 51% of voters verified (or
appeared to verify) their printed ballots, and those that did took over 2 minutes longer to
vote, which is presumably the verification time. This is a much higher verification rate than
has been seen in some other studies, which is particularly surprising given that it was a
mock election with nothing on the line for the voters.

My research lab has been working on a new voting machine interface that will further
advance voter verification of paper ballots produced by BMD. We will begin to run studies
of this new technology in February 2020. I would be happy to report our findings to you in
the spring.




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In my opinion, the gold standard for securing elections should be the audit. If necessary, a
full manual recount should be possible. With this in mind, the BMD has an advantage over
hand-marked paper ballots. Hand-marked paper ballots will suffer from ambiguous marks
that are left to the auditors to interpret. This doesn't happen with the BMD. Some may say
that the number of ballots that have this issue are small, but we have seen margins of
victory very small, even down to one vote. Most importantly, every vote should count and
every ballot should be auditable.

Lastly, I would like to emphasize the fact that there is no current technology to secure a
digital ballot. Some have suggested that ballot encryption is a safe method to secure the
ballot. This is not true. An encrypted ballot protects against modification, which is a
common threat model in voting system security. In other words, the common threat has
been that a bad actor would change votes in favor of their preferred candidate. An
additional threat that is often ignored is chaos. Instead of tipping the election in favor of a
specific candidate, the goal is chaos. In this scenario, encrypted ballots are extremely
vulnerable. The hack would be to simply delete all the encrypted ballots. Essentially, this
would nullify the election because all ballots would be lost. Another hack would be to hold
the encrypted ballots for ransom with ransomware. In either case, the result is chaos and
will cause doubt in the election results. Therefore, it is important to understand that no
electronic ballot, including encrypted ballots, are secure at this time.

As a nation, we have the capacity to build an elections system for the future, but doing so
requires focused attention from citizens, federal, state, and local governments, election
administrators, and innovators in academia and industry. It also requires a commitment of
appropriate resources. Representative democracy only works if all eligible citizens can
participate in elections, have their ballots accurately cast, counted, and tabulated, and be
confident that their ballots have been accurately cast, counted, and tabulated.

Sincerely,

Juan E. Gilbert, Ph.D.
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                                                                       Consensus Study Report
SEPTEMBER 2018                                                     HIGHLIGHTS
                                          HIGHLIGHTS FOR FEDERAL POLICY MAKERS


SECURING THE VOTE
Protecting American Democracy


The 2016 presidential election made clear the vulnerability of America’s election
infrastructure to foreign cyberattacks. Such attacks represent a new threat to the
nation’s system of representative democracy. A new report from the National Academies
of Sciences, Engineering, and Medicine recommends concerted action by Congress,
federal agencies, and state and local governments to protect the security and integrity
of U.S. elections.
Securing the Vote: Protecting American Democracy recommends that focused attention
be directed at strengthening cybersecurity for election systems. In addition, the report
recommends that all U.S. elections be conducted with human-readable paper ballots
by the 2020 presidential election. Risk-limiting audits should be implemented for all
federal and state elections within a decade. And election systems should continue to
be considered as U.S. Department of Homeland Security (DHS)-designated critical
infrastructure. In addition, the report states that Internet voting should not be used for
the return of marked ballots at the present time, as no known technology guarantees
the secrecy, security, and verifiability of a marked ballot transmitted over the Internet.

STEPS FEDERAL POLICYMAKERS SHOULD TAKE TO SECURE U.S. ELECTIONS
The report recommends that Congress:
    • provide funding for state and local governments to improve their cybersecurity
      capabilities on an ongoing basis;
    • create incentive programs for public-private partnerships to develop modern
      election technology; and
    • authorize and fund immediately a major initiative on voting that supports
      research relevant to the administration, conduct, and performance of elections.
      This initiative should include academic centers to foster collaboration both across
      disciplines and with state and local election officials and industry.
The U.S. Election Assistance Commission (EAC) has a vital role to play in improving
election administration, the report says. It urges the president to nominate and
Congress to confirm a full commission and to ensure that the commission has sufficient
members to sustain a quorum.
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The report also recommends steps Congress should take to support the EAC’s work, including:
   • appropriating funds for distribution by the EAC for the ongoing modernization of election systems;
   • authorizing and funding the EAC to develop voluntary certification standards for voter registration databases,
     electronic pollbooks, chain-of-custody procedures, and auditing;
   • providing the funding necessary to sustain the EAC’s Voluntary Funding System Guidelines standard-setting
     process and certification program;
   • requiring state and local election officials to provide the EAC with data on voting system failures and information
     on other difficulties arising during elections (for example, long lines, fraudulent voting, intrusions into voter
     registration databases); this information should be made publicly available; and
   • fully funding the EAC to carry out its existing functions, as well as additional ones articulated in the report.
     For example, the report recommends that the EAC and DHS continue to develop and maintain a detailed set
     of cybersecurity best practices for state and local election officials. And it urges the EAC to closely monitor the
     expenditure of federal funds made available to states for the purposes of enhancing election security.
The report also recommends that Congress take steps to support work by the National Institutes of Standards and
Technology (NIST) around election systems, including:
   • authorizing and appropriating funds to NIST to establish Common Data Formats for auditing, voter registration,
     and other election systems;
   • authorizing and providing appropriate funding to NIST to carry out its current elections-related functions and to
     perform the additional functions articulated in the report; and
   • authorizing and funding NIST, in consultation with the EAC, to develop security standards and verification and
     validation protocols for electronic pollbooks, in addition to those standards and protocols developed for voting
     systems.



COMMITTEE ON THE FUTURE OF VOTING: ACCESSIBLE, RELIABLE, VERIFIABLE TECHNOLOGY
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CSTL; KAROLINA KONARZEWSKA, Program Coordinator, CSTL; WILLIAM J. SKANE, Consultant Writer; CLARA
SAVAGE, Financial Officer, CSTL.


For More Information . . . This Consensus Study Report Highlights was prepared by the National Academies of Sciences,
Engineering, and Medicine based on the Report Securing the Vote: Protecting American Democracy (2018). The study
was sponsored by the Carnegie Corporation of New York and the William and Flora Hewlett Foundation. Any opinions,
findings, conclusions, or recommendations expressed in this publication do not necessarily reflect the views of any
organization or agency that provided support for the project. Copies of the Report are available from the National
Academies Press, (800) 624-6242; http://www.nap.edu or at www.nationalacademies.org/futureofvoting.


                                     Committee on Science Technology and Law
                                             Policy and Global Affairs




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                      Fact sheet: Disability and Voter Turnout in the 2016 Elections
                                      Lisa Schur and Douglas Kruse1

        Key points:

         16.0 million people with disabilities reported voting in the November 2016 elections.

         The voter turnout rate of people with disabilities was 6 percentage points lower than that
           of people without disabilities.

         Employed people with disabilities, however, were just as likely as employed people
           without disabilities to vote, suggesting that employment helps bring people with
           disabilities into mainstream political life.

         The voter registration rate of people with disabilities was 2 percentage points lower than
           that of people without disabilities. The lower voter turnout was due both to a lower
           registration rate among people with disabilities, and to lower turnout among those who
           are registered.

         If people with disabilities voted at the same rate as people without disabilities who have
            the same demographic characteristics, there would be about 2.2 million more voters.

      These figures are based on analysis of data from the federal government’s Current
Population Survey Voting Supplement for November 2016. The computations were made using
six disability questions introduced on the Current Population Survey in 2008.

                          Voter turnout among voting eligible population

                                                                        Millions who reported:
                                                   Percent voting       Voting        Not voting
Overall                                                 61.4%           137.5         86.5
People without disabilities                             62.2%           121.5         73.9
People with disabilities                                55.9%            16.0         12.6

          Hearing impairment                             62.7%             5.1           3.0
          Visual impairment                              53.7%             2.1           1.8
          Mental or cognitive impairment                 43.5%             4.0           5.2
          Difficulty walking or climbing stairs          55.9%             9.7           7.7
          Difficulty dressing or bathing                 44.6%             2.3           2.8
          Difficulty going outside alone                 44.7%             4.5           5.6



1
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      As shown above, among the voting eligible population (citizens age 18 or older), 55.9% of
people with disabilities reported voting, compared to 62.2% of people without disabilities.
Within the disability population, the voting rate among people with hearing impairments (62.7%)
was higher than the overall voting rate for people without disabilities, and the lowest rate was
among those with a mental or cognitive impairment (43.5%). For each disability group except
those with hearing impairments, the difference in turnout from those without disabilities is strong
enough to be outside the survey’s margin of error.2

         The total of 137.5 million people who reported voting estimated from this survey is close
to the total of 138.8 million ballots counted.3 Any misreporting is unlikely to differ between the
disability and non-disability populations, so the estimate of the turnout gap should be unbiased.

         Some of the gap may be due to other demographic differences between people with and
without disabilities. When adjusted for gender, race, age, education, and state of residence, the
estimated gap expands slightly from 6.3 points to 7.8 points. This implies that if people with
disabilities voted at the same rate as otherwise-similar people without disabilities, there would be
an additional 2.2 million voters.

       The estimated total of 16.0 million voters with disabilities compares with an estimated
17.1 million African-Americans and 12.7 million Hispanics/Latinos who voted in November
2016, based on analysis of this voting supplement. It should be noted that the disability total may
be understated because these disability measures may not capture several types of disability.4

       Some of the lower turnout of people with disabilities can be tied to difficulties getting to
or using polling places.5 A variety of states and localities have made efforts to reduce barriers
and increase turnout among people with disabilities.6 In addition, prior research has found the
lower turnout is partly explained by lower levels of income, lower levels of political recruitment,
and lower feelings of political efficacy.7


2
  The margins of error are based on a 95% level of confidence.
3
   http://www.electproject.org/2016g, accessed 5-22-17
4
  The disability questions measure the major sensory, mobility, and mental impairments, but may miss
       some learning disabilities and physical conditions that do not necessarily limit mobility, such as
       epilepsy and cancer.
5
  The Government Accountability Office released a report on June 10, 2009 finding that only 27% of
       polling places in 2008 had no potential impediments to access by people with disabilities, which
       was an improvement over 2000 when only 16% had no potential impediments (GAO-09-685). A
       2012 household survey found that 30% of citizens with disabilities who had voted at a polling place
       in 2012 said they encountered difficulties in doing so, compared to only 8% of citizens without
       disabilities (Lisa Schur, Meera Adya, and Douglas Kruse, “Disability, Voter Turnout, and Voting
       Difficulties in the 2012 Elections,” July 2013,
       http://smlr.rutgers.edu/sites/smlr.rutgers.edu/files/images/Disability%20and%20voting%20survey%
       20report%20for%202012%20elections.pdf).
6
  Lisa Schur, Meera Adya, and Mason Ameri. "Accessible Democracy: Reducing Voting Obstacles for
       People with Disabilities." Election Law Journal Vol. 14, No. 1, 2015, pp. 60-65.
7
  The prior findings are summarized in Lisa Schur, Todd Shields, and Kay Schriner, “Voting,” in Gary
       Albrecht, ed., Encyclopedia of Disability (Thousand Oaks, CA: Sage Publications, 2005), and Lisa



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                             Disability and voter turnout in 2008, 2012, and 2016

                                                    2008             2012            2016
        People without disabilities                 64.5%            62.5%           62.2%
        People with disabilities                    57.3%            56.8%           55.9%
        Disability turnout gap                       -7.2%           -5.7%           -6.3%

          Hearing impairment                        63.1%            63.2%           62.7%
          Visual impairment                         56.8%            57.3%           53.7%
          Mental or cognitive impairment            46.1%            44.8%           43.5%
          Difficulty walking or climbing stairs     56.8%            56.3%           55.8%
          Difficulty dressing or bathing            46.4%            46.7%           44.5%
          Difficulty going outside alone            45.7%            47.3%           44.7%

        These results can be directly compared to the general elections in November 2008 and
2012. As can be seen above, overall turnout dropped slightly from 2008 to 2012 and 2016. The
drop was slightly greater for people without disabilities from 2008 to 2012, leading to a
narrowing of the disability gap from 7.2 to 5.7 points, but the disability gap widened slightly to
6.3 points in 2016. It is important to note, however, that these estimated changes in the disability
gap are small enough that they are within the survey’s margin of error, so we cannot be confident
of a true change in the disability gap over this period.

        These results cannot be directly compared to elections before 2008 because they are
based on a measure of disability introduced by the Census Bureau in 2008. A national survey
conducted by the Eagleton Institute of Rutgers University following the November 2000
elections is comparable because it had similar questions and estimated prevalence of disability.
Based on that survey, there was a 12 percentage point gap in voter turnout between people with
and without disabilities in 2000, indicating that the relative voter turnout of people with
disabilities in general elections may have improved from 2000 to 2016 (perhaps due in part to
increased accessibility of polling places).8




       Schur and Meera Adya, “Sidelined or Mainstreamed? Political Participation and Attitudes of People
       with Disabilities in the United States, Social Science Quarterly, Vol. 94, No. 3, 2013, pp. 811-839.
8
    Based on data used in Lisa Schur, Todd Shields, and Kay Schriner, "Generational Cohorts, Group
       Membership, and Political Participation by People with Disabilities," Political Research Quarterly,
       Vol. 58, No. 3, September 2005. Surveys conducted by Louis Harris and Associates for the
       National Organization on Disability show disability turnout gaps of 0% to 17% over the 1992-2008
       period, but the disability prevalence is not reported so it is unclear if the disability measure used in
       those surveys can be readily compared (The ADA, 20 Years Later: KesslerFoundation/NOD Survey
       of Americans with Disabilities, Harris Interactive, New York, NY, 2010).



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                        Breakdown by employment status and demographics

        There was no gap in voter turnout between employed people with and without
disabilities, indicating that employment helps provide resources and social contact that
encourage voting.9 The disability voting gap was concentrated among the non-employed, as
shown in the numbers below. The disability gap was also:

              larger among women than among men, reflecting especially high voter turnout among
               women without disabilities;
              larger among white non-Hispanics than among other race and ethnicity groups
              larger among those age 18-34 and 35-49 than among other age groups
              largest in the Northeast and smallest in the West

        Except for the comparisons among the employed and other race/ethnicity, each of these
disability gaps is strong enough to be outside the survey’s margin of error.

                                    Disability              No Disability            Disability Gap
                                 2012        2016         2012      2016            2012        2016
        Overall                  56.8%        55.9%       62.5%       62.2%        -5.7%        -6.3%

        Employed                 64.6%        64.7%       64.2%       63.6%         0.4%         1.1%
        Not employed             55.0%        54.0%       59.2%       59.2%        -4.2%        -5.2%

        Women                    56.5%        56.4%       64.8%       64.3%        -8.3%        -7.9%
        Men                      57.2%        55.4%       60.1%       59.9%        -2.9%        -4.5%

        White non-Hispanic       57.5%        58.2%       65.2%       66.4%        -7.7%        -8.2%
        African-American         62.8%        54.5%       67.2%       60.4%        -4.4%        -5.9%
        Hispanic                 46.8%        42.7%       48.1%       48.0%        -1.3%        -5.3%
        Other race/ethnicity     47.5%        49.4%       50.2%       49.3%        -2.7%        -0.1%

        Age 18-34                32.6%        33.1%       48.8%       49.7%        -16.2%      -16.5%
        Age 35-49                45.4%        46.9%       63.5%       62.9%        -18.1%      -16.0%
        Age 50-64                58.1%        54.5%       71.0%       69.2%        -12.9%      -14.7%
        Age 65+                  64.4%        63.9%       75.4%       73.8%        -11.0%       -9.9%

        Northeast                54.5%        54.7%       63.3%       62.5%        -8.8%        -7.8%
        Midwest                  60.1%        58.7%       65.8%       65.2%        -5.7%        -6.5%
        South                    56.4%        54.1%       61.3%       60.9%        -4.9%        -6.8%
        West                     55.6%       57.3%        60.7%       61.1%        -5.1%       -3.8%

9
    This is consistent with other research on the role of employment summarized in Lisa Schur, Todd
         Shields, and Kay Schriner, “Voting,” in Gary Albrecht, ed., Encyclopedia of Disability (Thousand
         Oaks, CA: Sage Publications, 2005)



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                         Whether voted by mail and on election day

       Among voters with disabilities in 2016, only 53% voted at the polling place on election
day, compared to 61% of voters without disabilities. They were instead more likely to vote by
mail before election day (28% compared to 19%), reflecting the mobility problems faced by
some people with disabilities. All of these disability gaps are strong enough to be outside the
survey’s margin of error.

                                                   Disability      No Disability       Disability Gap
    How voted in 2016:
    At polling place on election day                   52.6%             60.9%             -8.3%
    At polling place before election day               18.1%             19.2%             -1.1%
    By mail before election day                        28.4%             18.6%              9.8%
    By mail on election day                             0.9%              1.4%              0.5%


                                 State Breakdowns in Voter Turnout

        The voter turnout gap between people with and without disabilities varied by state, as
shown in the breakdown below. It should be cautioned that the sample size is low in many
states, which increases the margin of error and decreases the likelihood of finding a disability
gap that exceeds the margin of error. The disability gap in 2016 was large enough to be outside
the margin of error (indicated by an “*”) in 24 states and the District of Columbia, and was
within the margin of error in the remaining 26 states.

                               Disability                No Disability        Disability Gap
                            2012        2016            2012      2016      2012          2016
    U.S.                      56.8%        55.9%         62.5%   62.2%      -5.7%          -6.3%

    Alabama                   57.8%        47.4%         62.7%   59.4%      -4.9%        -12.0% *
    Alaska                    59.1%        60.1%         58.3%   61.5%       0.9%         -1.5%
    Arizona                   48.1%        66.2%         56.9%   59.6%      -8.9%          6.6%
    Arkansas                  46.2%        51.2%         54.7%   60.1%      -8.4% *       -8.9% *
    California                50.4%        52.3%         58.4%   58.6%      -8.0% *       -6.3% *

    Colorado                  65.6%        69.0%         71.1%   69.5%       -5.5%        -0.6%
    Connecticut               52.7%        65.0%         63.8%   63.8%      -11.1% *       1.3%
    Delaware                  71.1%        53.0%         66.8%   63.5%        4.3%       -10.5% *
    Florida                   62.0%        58.9%         60.7%   59.5%        1.3%        -0.7%
    Georgia                   54.9%        57.8%         62.9%   60.6%       -8.0% *      -2.7%

    Hawaii                    51.4%        54.1%         51.7%   46.3%      -0.2%          7.7%
    Idaho                     56.6%        65.1%         64.9%   61.6%      -8.3%          3.5%
    Illinois                  60.4%        65.8%         61.6%   63.5%      -1.2%          2.3%
    Indiana                   54.8%        49.4%         59.9%   59.7%      -5.2%        -10.3% *



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Iowa               63.9%    56.1%       70.2%   64.7%    -6.3%        -8.6%   *
Kansas             63.0%    53.0%       63.3%   62.9%    -0.3%        -9.9%   *
Kentucky           48.5%    42.5%       61.4%   60.2%   -12.9%   *   -17.6%   *
Louisiana          58.7%    48.2%       67.6%   64.0%    -8.9%   *   -15.7%   *
Maine              55.9%    68.2%       71.0%   73.5%   -15.1%   *    -5.3%
Maryland           58.3%    60.4%       66.0%   66.4%    -7.7%   *    -6.0%

Massachusetts      59.7%    59.6%       72.3%   67.6%   -12.6%   *    -8.1% *
Michigan           60.7%    63.7%       68.0%   64.4%    -7.3%   *    -0.7%
Minnesota          65.7%    58.7%       74.2%   69.9%    -8.4%   *   -11.2% *
Mississippi        67.9%    63.2%       75.9%   68.6%    -8.0%   *    -5.3%
Missouri           53.5%    55.9%       65.8%   66.2%   -12.2%   *   -10.3% *

Montana            64.9%    67.0%       65.8%   65.7%    -0.9%         1.3%
Nebraska           62.2%    70.4%       61.5%   66.2%     0.7%         4.2%
Nevada             58.5%    58.2%       57.9%   60.8%     0.7%        -2.6%
New Hampshire      59.0%    66.0%       70.8%   69.4%   -11.9% *      -3.4%
New Jersey         56.8%    58.6%       62.5%   61.8%    -5.7%        -3.2%

New Mexico         57.7%    54.4%       62.1%   54.9%    -4.5%        -0.4%
New York           50.2%    48.8%       59.7%   58.4%    -9.5% *      -9.6% *
North Carolina     62.5%    64.5%       69.8%   68.0%    -7.3% *      -3.5%
North Dakota       57.2%    60.1%       64.7%   64.7%    -7.6%        -4.6%
Ohio               58.3%    53.2%       63.9%   65.5%    -5.6% *     -12.3% *

Oklahoma           49.4%    51.7%       53.0%   57.6%    -3.6%        -5.9%
Oregon             66.6%    53.9%       67.8%   68.8%    -1.1%       -14.9%   *
Pennsylvania       54.9%    54.1%       62.6%   64.0%    -7.7% *      -9.9%   *
Rhode Island       61.0%    50.0%       62.7%   62.1%    -1.7%       -12.1%   *
South Carolina     59.8%    50.4%       65.5%   64.0%    -5.7%       -13.5%   *

South Dakota       64.7%    51.9%       60.4%   60.1%     4.2%        -8.1%
Tennessee          47.9%    47.1%       57.4%   55.1%    -9.5% *      -8.0% *
Texas              55.8%    51.5%       53.5%   55.9%     2.3%        -4.4% *
Utah               59.8%    63.3%       56.7%   62.6%     3.1%         0.7%
Vermont            62.1%    57.6%       63.4%   63.2%    -1.3%        -5.6%

Virginia           57.1%    57.4%       68.2%   69.5%   -11.1% *     -12.0%   *
Washington         63.6%    62.5%       66.0%   66.8%    -2.4%        -4.4%
Washington, D.C.   63.8%    60.0%       77.6%   76.1%   -13.8% *     -16.1%   *
West Virginia      42.9%    45.9%       48.8%   52.0%    -5.8%        -6.1%   *
Wisconsin          66.5%    63.9%       74.7%   71.6%    -8.2% *      -7.7%   *
Wyoming            59.7%    54.5%       58.7%   66.1%     1.0%       -11.6%   *




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                                        Voter Registration

        The disability voting gap is due in part to lower voter registration, but is due more to a
lower likelihood of voting if registered. Among people with disabilities, 68% were registered to
vote, only 2 points lower than the rate for people without disabilities. Among those who were
registered, 82% voted, which was 6 points lower than for registered people without disabilities.
People with disabilities were more likely than those without disabilities to have registered at a
town hall or registration office, public assistance agency, or registration drive, and less likely to
have registered at a department of motor vehicles or using the Internet.

       Each of these disability gaps is strong enough to be outside the survey’s margin of error,
except for the gaps in registering by mail or at a polling place.

                                                                        No          Disability
                                                      Disability
                                                                     Disability       Gap
 Registered to vote                                    68.3%          70.6%          -2.3%
 Voted if registered                                   82.0%          88.0%          -6.0%
 How registered to vote:
     Went to a town hall or county/
                                                       28.5%          20.1%           8.4%
     government registration office
     At a department of motor vehicles                 24.8%          32.5%           -7.7%
     At a public assistance agency                      2.2%           1.2%            1.0%
     Registered by mail                                15.4%          15.1%            0.3%
     Registered at polling place                        7.6%           7.2%            0.5%
     Filled out form at a registration drive            6.0%           4.7%            1.3%
     At a school, hospital, or on campus                5.2%           6.4%           -1.2%
     Registered using the Internet or online            4.0%           8.3%           -4.4%
     Other                                              6.4%           4.5%            1.8%




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                                    Why people were not registered

        The most common expressed reason for not registering to vote, among people both with
and without disabilities, was a lack of interest in the election or politics. Almost one-fourth of
people with disabilities (23%) gave “permanent illness or disability” as their reason for not being
registered.

        The disability gaps below are strong enough to be outside the survey’s margin of error,
except for the small disability gaps in “Not eligible to vote,” “Did not know where or how to
register,” “Difficulty with English,” and “Other reason.”

    If not registered to vote, why not:          Disability   No Disability      Disability Gap

    Not interested in the election or not
                                                     36.1%        45.3%               -9.3%
    involved in politics
    Permanent illness or disability                  22.6%         1.6%              20.9%
    Did not meet registration deadlines               6.7%        14.0%              -7.3%
    Not eligible to vote                              7.6%         7.8%              -0.3%

    My vote would not make a difference              3.5%         5.4%                -1.9%
    Did not know where or how to register            3.1%         3.5%                -0.4%
    Did not meet residency requirements/did
                                                     1.3%         3.1%                -1.7%
    not live here long enough
    Difficulty with English                           2.4%         2.0%                0.5%
    Other reason                                     16.8%        17.3%               -0.5%




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                             Why people did not vote if registered

        Among those who were registered to vote but did not do so in November 2016, about
one-third (36%) of people with disabilities gave “illness or disability” as the reason for not
voting, compared to 7% of people without disabilities. People with disabilities were also more
likely to cite transportation problems as a reason for not voting (7% compared to 2%), consistent
with their higher rate of voting by mail. They were less likely than people without disabilities to
say that they were not interested, too busy, out of town, or didn’t like the candidates.

       The disability gaps below are strong enough to be outside the survey’s margin of error,
except for the small disability gaps in “Forgot to vote,” “Bad weather conditions,” “Registration
problems,” and “Other.”

 Why didn't vote                                        Disability     No Disability    Disability Gap

 Illness or disability (own or family's)                  35.7%            6.6%             29.0%
 Not interested, felt my vote wouldn't make a
      difference                                           9.6%           17.3%              -7.6%
 Didn't like candidates or campaign issues                20.6%           26.5%              -6.0%
 Too busy, conflicting work or school schedule             4.4%           17.0%             -12.6%
 Forgot to vote (or send in absentee ballot)               3.2%            3.1%               0.1%

 Transportation problems                                   6.8%            1.8%               5.0%
 Out of town or away from home                             4.0%            9.1%              -5.1%
 Registration problems (i.e. didn't receive absentee
     ballot, not registered in current location)           3.6%            4.7%              -1.1%
 Inconvenient hours, polling place or hours or lines
     too long                                              1.4%            2.4%              -1.0%
 Bad weather conditions                                    0.1%            0.0%               0.0%
 Other                                                    10.8%           11.6%              -0.8%




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